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                                 No. 24-1365


               In the United States Court of Appeals
                for the District of Columbia Circuit

          DOCTORS FOR DRUG POLICY REFORM; BRYON ADINOFF, DR.,

                                                                     Petitioners

                                      v.

    DRUG ENFORCEMENT ADMINISTRATION; ANNE MILGRAM, IN HER OFFICIAL
   CAPACITY AS ADMINISTRATOR OF THE UNITED STATES DRUG ENFORCEMENT
                           ADMINISTRATION,


                                                                    Respondents


    On Petition for Review of Orders of the Drug Enforcement Administration
                        (Oct. 28, 2024 and Nov. 25, 2024)


                        PETITIONERS’ APPENDIX
                             VOLUME 5 OF 6
                           App.1380 to App.1477


                                    Austin T. Brumbaugh
                                    D.C. Circuit Bar No. 65727
                                    Yetter Coleman LLP
                                    811 Main Street, Suite 4100
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                                    713-457-3099

                                    Counsel for Petitioners
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  2024-11-25   Suzanne Sisley, M.D. Rejection Letter                      App.1652



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  2024-11-25   T. Christopher Wright Rejection Letter                   App.1653

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  2024-11-25   The Plant Counsel Rejection Letter                       App.1655

  2024-11-25   The Veterans Action Council Rejection Letter             App.1656

  2024-11-25   Thomas J. Tobin Rejection Letter                         App.1657

  2024-11-25   Training Marbles, Inc. Rejection Letter                  App.1658

  2024-11-25   United Empowerment Party Rejection Letter                App.1659

  2024-11-25   United States Cannabis Coalition Rejection Letter        App.1660

  2024-11-25   Veterans Action Council Rejection Letter                 App.1661

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               Letter

  2024-11-25   Vicente LLP Rejection Letter                             App.1665

               University of California San Diego’s Center for App.1666
               Medicinal Cannabis Rejection Letter

  2024-11-27   Draft letters document listing by Heather E. Achbach     App.1667




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 Dated: February 17, 2025         Respectfully submitted,

                                  /s/Austin T. Brumbaugh
                                  Austin T. Brumbaugh
                                  D.C. Circuit Bar No. 65727
                                  Yetter Coleman LLP
                                  811 Main Street, Suite 4100
                                  Houston, Texas 77002
                                  713-457-3099

                                  Attorney for Petitioners




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      Vicente.                                                                               1553 Platte Street, Suite 310
                                                                                                       Denver, CO 08202
                                                                                                       Tel: 303-860-4501

                    California · Colorado · Florida · Massachusetts · Michigan • Minnesota · New Jersey · New York · Texas



      September 30, 2024
      Drug Enforcement Administration
      Attn: Hearing Clerk/OALJ
      8701 Morrissette Drive
      Springfield, VA 22152

      Subject: Notice of Appearance

      Dear Administrator Milgram:

      Please take notice that Vicente LLP, requests the opportunity to appear on behalf of Sensible
      Colorado in the matter of the Rescheduling of Marijuana, 89 Fed. Reg. 44,597 (the "Proposed
      Rule"), Docket No. DEA-1362, currently scheduled for December 2, 2024, at 9:00am E.T., per 89
      Fed. Reg. 70,148.

      (A) Sensible Colorado has standing to participate in the hearing. 21 C.F.R. § 1300.0l(b) allows
          that "any person adversely affected or aggrieved by any rule or proposed rule issuable" under
          21 U.S.C. § 811 has standing to appear at the hearing for the Proposed Rule ("Interested
          Person"). 1 Sensible Colorado is an Interested Person and falls within the Controlled
          Substances Act's ("CSA") zone of interests. Further, Sensible Colorado will be directly and
          adversely affected or aggrieved by the Proposed Rule if finalized. Sensible Colorado's status
          as an Interested Person is further detailed in the enclosed submission.

      (B) Among other things, Sensible Colorado desires to be heard, has unique expertise, and would
          provide invaluable insights into: (i) medical and scientific research involving marijuana,
          including as it relates to veterans' access; (ii) marijuana's medical efficacy, including the use
          of marijuana in the practice of medicine in the U.S. under state-legal programs (particularly in
          Colorado); (iii) the effects of the Proposed Rule on members of Sensible Colorado who are
          minority-owned/small businesses and on members whose communities have been impacted
          by the war on drugs; (iv) the abuse potential, public health risks, and illicit market for
          marijuana; (v) marijuana's usefulness in replacing other more harmful substances (i.e. alcohol
          and opioids); (vi) the specific ways Sensible Colorado's members will be adversely affected
          and aggrieved by the Proposed Rule, if finalized; and (vii) the practical consequences of
          rescheduling marijuana.2 Further details about the objections or issues on which Sensible
          Colorado desires to be heard are provided in the enclosed submission.

      (C) Since 2004, Sensible Colorado has represented Colorado medical marijuana providers and
          patients who are active participants in and around the state-legal marijuana industry and who

      1 Pursuant to 21 C.F.R. § 1300.0l(b), "person" includes "any individual, corporation, government or governmental

      subdivision or agency, business trust, partnership, association, or other legal entity."
      2 "DOJ is seeking comment on the practical consequences of rescheduling marijuana into schedule III under the

      relevant statutory frameworks." 89 Fed. Reg. 44621 (May 21 , 2024).

                                                    1 I Request to Participate in a Hearing & Notice of Appearance




                                                                                                              App.1380
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     Vicente.
          will be, in addition to Sensible Colorado itself, directly and adversely affected by the Proposed
          Rule, if :finalized. Sensible Colorado is thus uniquely situated to assist the Drug Enforcement
          Administration's ("DEA") administrative decision making. Sensible Colorado has extensive
          knowledge and experience regarding the practical effects of the Proposed Rule on the state-
          legal, regulated medical marijuana marketplace. DEA has sought comments related to the
          practical consequences of rescheduling marijuana. Proposed Rule at 44,621. Sensible
          Colorado is particularly well-suited to provide this insight, as it represents medical marijuana
          providers and patients in Colorado, has worked to advance medical marijuana policies
          nationwide, and is a leader among states in regulating a successful medical marijuana market.
          Sensible Colorado's positions with regard to the particular objections or issues are further
          detailed in the enclosed submission.


      All notices to be sent pursuant to this appearance should be addressed to:

             Timothy D. Swain
             VicenteLLP
             800 Boylston Street, 26th Floor
             Boston, MA 02199
             T.Swain@VicenteLLP.com


                                                                    Respectfully yours,

                                                                    Isl Timothy D. Swain
                                                                    Timothy D. Swain, Esq.




                          Request to Participate in a Hearing & Notice of Appearance I 2




                                                                                                App.1381
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     Vicente.
      September 30, 2024

             Drug Enforcement Administration                Drug Enforcement Administration
             Attn: Administrator                            Attn: Hearing Clerk/OALJ
             8701 Morrissette Drive                         8701 Morrissette Drive
             Springfield, Virginia 22152                    Springfield, Virginia 22152

             Drug Enforcement Administration
             Attn: DEA Federal Register
             Representative/DPW
             8701 Morrissette Drive
             Springfield, Virginia 22152

      Re:    Request to Participate in a Hearing & Notice of Appearance
             Schedules of Controlled Substances: Rescheduling ofMarijuana, 89 Fed. Reg. 44,597,
             Docket No. DEA-1362

      Administrator Milgram:

      Pursuant to 21 C.F.R. § 1308.44(b) and§ 1316.48, Sensible Colorado submits, as an Interested
      Person, this Request to Participate in a Hearing and Notice of Appearance. Sensible Colorado is
      submitting declarations to support the expert and fact witness testimony that would be provided
      by Sensible Colorado for the December 2, 2024, hearing being held pursuant to 89 Fed. Reg.
      70,148 ("Notice of Hearing"), as enclosures to this Request to Participate in a Hearing & Notice
      of Appearance.

      Sensible Colorado's members include Colorado medical marijuana patients (including veterans),
      small businesses, and physicians who have recommended medical marijuana to patients, seeing its
      benefits firsthand. Sensible Colorado and its members are Interested Persons within the zone of
      interests and will be adversely affected or aggrieved by this proposed rule, entitled Schedules of
      Controlled Substances: Rescheduling of Marijuana, if finalized. See 89 Fed. Reg. 44,597 (May 21,
      2024) (the "Proposed Rule").

      In the context of this Proposed Rule, it is Sensible Colorado's position that medical, scientific, and
      other evidence supports removing "marijuana", "marijuana extract", and "naturally derived delta-
      9-tetrahydrocannabinols" from schedule I of the CSA.

      Sensible Colorado has standing to participate in the hearing. Among other things, Sensible
      Colorado has unique expertise and provides invaluable insights into: (i) medical and scientific
      research involving marijuana, including as it relates to veterans' access; (ii) marijuana's medical
      efficacy, including the use of marijuana in the practice of medicine in the U.S. under state-legal
      programs (particularly in Colorado); (iii) the effects of the Proposed Rule on members of Sensible
      Colorado who are minority-owned/small businesses and on members whose communities have
      been impacted by the war on drugs; (iv) the abuse potential, public health risks, and illicit market
      for marijuana; (v) marijuana's usefulness in replacing other more harmful substances (i.e. alcohol
      and opioids); (vi) the specific ways Sensible Colorado's members will be adversely affected and


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                                                                                                 App.1382
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     Vicente.
      aggrieved by the Proposed Rule, if finalized; and (vii) the practical consequences of rescheduling
      marijuana. Sensible Colorado is prepared to present expert testimony on these issues and the
      placement of marijuana on the CSA's schedules. Sensible Colorado's testimony would materially
      assist the DEA ALJ in preparing a sound and well-supported administrative decision.

                                                 A. Background

      On May 21, 2024, DOJ issued a Notice of Proposed Rulemaking, Schedules of Controlled
      Substances: Rescheduling of Marijuana. Proposed Rule at 44,597. In the Notice of Hearing DEA
      requested that interested persons who wish to participate in the hearing submit requests to DEA
      on, or before 11 :59pm Eastern Time on September 30, 2024. This request to participate in a hearing
      is timely filed.

      This request to participate serves to inform DEA that Sensible Colorado is an Interested Person
      and requests the ability to participate in DEA's rulemaking process to the fullest extent possible,
      including at the December 2, 2024, hearing that DEA has granted.


                                          B. Who Is Sensible Colorado
      Sensible Colorado is a prominent nonprofit (501(c)(3)) organization, based in Denver, CO,
      promoting the legal and regulatory framework supporting medical marijuana patients in Colorado
      together with its members. Founded in 2004 in response to police enforcement against medical
      marijuana patients, Sensible Colorado collaborates closely with state, federal, and international
      policymakers, regulatory agencies, researchers, standards organizations, accreditation bodies, and
      industry stakeholders to foster a viable, safe, and regulated medical marijuana program with a
      focus on public health and safety and consumer protection.

      Sensible Colorado is particularly focused on areas such as product safety, industry standards,
      legislative advocacy, education, research, and testing within the marijuana industry. It provides its
      members with critical information on regulatory changes, market trends, and legal challenges.
      Sensible Colorado has a vested interest in seeing that its members have access to safely regulated
      medical marijuana and in ensuring that their use of medical marijuana products is safe, tested,
      overseen by qualified physicians, and medicinally beneficial.

      For 20 years, Sensible Colorado has spent extensive time, money, and other resources to advocate
      for a regulated, responsible medical marijuana program that supports Colorado patients with
      debilitating medical conditions. Sensible Colorado is uniquely situated to provide information at
      the hearing given its longstanding advocacy in one of the nation's longest running state-legal
      medical marijuana programs. Sensible Colorado's interests and resource expenditures would be at
      risk if Sensible Colorado were not permitted to participate in the formal rulemaking process to the
      fullest extent permitted by law.

      The Proposed Rule directly affects Sensible Colorado, and it affects Sensible Colorado through
      the impact it has on the organization's members. Specifically, Sensible Colorado's advocacy
      efforts will be affected by the Proposed Rule. Similarly, its members will be impacted by the
      Proposed Rule, if finalized, by, among other things, (1) the criminal penalties applicable to their

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                                                                                                App.1383
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     Vicente.
      state-legal medical marijuana activities; (2) the continuing barriers applicable to the scientific and
      medical communities participating in state-legal medical marijuana programs; (3) the prices they
      pay for medical marijuana due to the implications of 26 U.S. Code § 280E ("280E"); and (4) the
      implications of using state-legal medical marijuana on employment, housing, parental rights, and
      immigration status. IfDEA eschews the Proposed Rule and decides that marijuana should remain
      on schedules I or II, that decision would also adversely affect Sensible Colorado and its members
      for the same reasons stated above, particularly as it relates to tax relief for state-legal medical
      marijuana businesses.


             C. Objections Or Issues Concerning Which Sensible Colorado Desires to Be Heard
      The Proposed Rule represents a sea change in how the federal government proposes to control
      marijuana, including how it may be accessed by patients who rely on the substance for effective
      medical treatment. As DEA is aware, marijuana is currently categorized as a schedule I substance,
      making it subject to the most stringent controls. Schedule I substances, according to DEA's
      classification, have no currently accepted medical use and a high potential for abuse. Some
      examples of schedule I drugs are heroin, LSD, ecstasy, and peyote. 3

      Sensible Colorado maintains that marijuana does not belong in schedule I, particularly given
      its accepted medical utility and relatively low potential for abuse, even as compared to some
      unscheduled substances, such as alcohol. 4 As detailed in the Proposed Rule, the Department of
      Health and Human Services ("HHS") conducted a comprehensive scientific and medical
      evaluation of the appropriate classification of marijuana and recommended that marijuana be
      transferred to schedule III. 89 Fed. Reg. at 44,600. Specifically, HHS concluded that marijuana
      has a potential for abuse less than the other substances in schedules I and II; that marijuana has a
      currently accepted medical use in treatment in the United States; and that the abuse of marijuana
      may lead to moderate or low physical dependence or psychological dependence. Id. Marijuana's
      medical use in treatment is demonstrated by the over six million Americans registered as medical
      marijuana patients in 3 8 states, the District of Columbia, and the four territories hat have legalized
      the use of medical marijuana, to treat certain health conditions, including chronic pain. 5 A growing
      number of organizations with expertise on medical efficacy (including but not limited to the
      National Academies of Sciences, Engineering, Medicine, the Center for Disease Control, and the
      National Institute on Drug Abuse) recognize marijuana's medical use and that there is credible
      scientific evidence supporting its treatment for conditions like chronic pain and nausea and
      vomiting. In contrast, schedule II substances are defined as drugs with a high potential for abuse,
      with use potentially leading to severe psychological or physical dependence. These drugs are also
      considered dangerous. Some examples of schedule II drugs are cocaine, methamphetamine,
      methadone, and oxycodone. Many schedule II substances are known drivers of the country's

      3 DEA, Drug Scheduling, https://www.dea.gov/drug-information/drug-scheduling (Last accessed September 26,
      2024).
      4 Jonathan P. Caulkins, Changes in Self-Reported Cannabis Use in the United States from 1979 to 2022, 119

      Addiction, pg. 1648 (May 22, 2024).
      5 2022 State of the States Report: An Analysis ofMedical Cannabis Access in the United States, Americans for Safe

      Access,
      https://assets.nationbuilder.com/americansforsafeaccess/pages/27187/attachments/original/I 675362731 /StateoftheSt
      ates22_P5.pdf?l675362731 (Last accessed on Sep. 25, 2024).


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                                                                                                            App.1384
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     Vicente.
      opioid epidemic. Over the past 20 years, Sensible Colorado's members have included thousands
      of patients who have safely used marijuana as medicine under Colorado's regulated medical
      marijuana program. In light of this, Sensible Colorado agrees that marijuana has a currently
      accepted medical use in treatment in the U.S. and a relatively low abuse potential, and therefore
      should be removed from schedule I. 6

      The public health risks of marijuana are lower than those of the "comparator substances
      controlled" under schedules I through V. Sensible Colorado's participation in the administrative
      hearing process would demonstrate that marijuana does not compare to the public health risks of
      substances in schedules I and II like heroin (schedule I), cocaine (schedule II), or fentanyl
      (schedule II). See Proposed Rule at 44,614 (discussing HHS' recommendation on this point); see
      also id. at 44,618 (noting that heroin, cocaine, and fentanyl were considered "comparator
      substances controlled" under schedules I and II). According to data from the Centers for Disease
      Control and Prevention ("CDC"), heroin, cocaine, and fentanyl are responsible for tens of
      thousands of fatalities in the United States annually. 7 In fact, DEA has launched a public awareness
      campaign that even "One Pill" offentanyl "Can Kill," noting that two milligrams offentanyl (an
      amount smaller than a pencil tip) can be deadly.8 Given its deadly nature, the risk profile of
      fentanyl-a schedule II substance-dwarfs that of marijuana. DEA itself recognizes that zero
      deaths have been associated with marijuana overdose.9 Indeed, in considering lethal dose values
      that indicate the risk of inducing death and representing a significant level of harm, marijuana is
      considerably less dangerous than substances in schedules III, IV, and V, and unscheduled
      substances like nicotine 10 and caffeine 11 .

      Sensible Colorado's participation in the hearing would also demonstrate that marijuana poses less
      public health risks than substances in schedules III through V and is less harmful than alcohol and
      tobacco, neither of which is controlled under the CSA. Marijuana poses less public health risk,
      including a lower abuse potential and lower recognized risk to children, than many drugs in
      schedules III-V, such as ketamine and benzodiazepines, which are highly addictive, highly
      abusable, and readily available for prescription through telemedicine. Like opioids,
      benzodiazepines are subject to prescription drug misuse and have been associated with increased




      6 Statement from President Biden on Marijuana Reform, 2022 DAILY COMP. PRES. DOC. 883 (Oct. 6, 2022),

      https://www.whitehouse.gov/briefing-room/statements-releases/2022/10/06/statement-from-president-biden-on-
      marijuana-reform/ (hereinafter Statement on Marijuana Reform).
      7 CDC, Provisional Drug Overdose Death Counts, https://www.cdc.gov/nchs/nvss/vsrr/drug-overdose-data.htm (Last

      accessed September 26, 2024).
      8 DEA, One Pill Can Kill, https://www.dea.gov/onepill (Last accessed September 26, 2024).
      9 DEA, Marijuana/Cannabis: Drug Fact Sheet at 3 (April 2020), https://www.dea.gov/sites/default/files/2020-
      06/Marijuana-Cannabis-2020_ 0.pdf (Last accessed September 26, 2024).
      10 PubChem Coumpound Summary for CID 89594, Nicotine, NATIONAL CENTER FOR BIOTECHNOLOGY

      INFORMATION,https://pubchem.ncbi.nlm.nih.gov/compound/89594#section=Toxicity (Last accessed Sep. 25,
      2024).
      11 PubChem Coumpound Summary for CID 2519, Caffeine, NATIONAL CENTER FOR BIOTECHNOLOGY

      INFORMATION, https://pubchem.ncbi.nlm.nih.gov/compound/2519#section=UN-Classification (last visited on
      Sep. 25, 2024).


                            Request to Participate in a Hearing & Notice of Appearance I 6




                                                                                                        App.1385
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     Vicente.
      risk of opioid overdose and opioid-related mortality in adolescents and young adults. 12 Sensible
      Colorado is also prepared to discuss how illicit, unregulated, marijuana and marijuana products
      pose a greater public health risk than state-legal medical marijuana and marijuana products.

      The HHS analysis on relative abuse potential, reproduced below, inappropriately concludes that
      schedule III is the appropriate classification for marijuana:

              [TJ he rank order of these substances regarding harms does not consistently align
              with the relative scheduling placement of these drugs in the CSA due to the
              pharmacological differences between various classes of drugs.

              There are a number of confounding factors that likely influence the adverse
              outcomes measured in various epidemiological databases and account for the rank
              ordering of the drugs evaluated on these measures. For example, each substance
              has associated with it a different population that abuses the substance, a different
              prevalence ofabuse, and a different profile ofseveral adverse outcomes in a setting
              of nonmedical use and abuse. Thus, it is challenging to reconcile the ranking of
              relative harms associated with the comparators used in this evaluation when the
              rankings differ across various epidemiological databases, and when these rankings
              often do not align with the scheduling placement ofthe comparators under the CSA.
              To address these challenges, we evaluate the totality of the available data and
              have concluded that it supports the placement of marijuana in Schedule IIL 13

      Sensible Colorado does not believe this analysis is sufficient, and it intends to provide testimony
      on the low physical and psychological dependence of marijuana relative to substances in schedules
      III through V. In particular, the analysis does not properly compare marijuana to benzodiazepines,
      antipsychotics, and cough medicines containing codeine, the abuse of which results in significant
      physiological and psychological dependence. However, it is important to note that the Proposed
      Rule does recognize that the public health risk ofbenzodiazepines is substantially greater than the
      risk presented by marijuana. At the very least, the evidence will show that compared to
      benzodiazepines, antipsychotics, and cough medicines containing codeine, abuse of marijuana
      leads to limited physical dependence or psychological dependence relative to substances in
      schedule IV and V. Sensible Colorado will present expert witness testimony from Dr. Corey
      Burchman and Dr. Alan Shackelford to support the forgoing.

      Dr. Corey Burchman is a neuro-anesthesiologist, obstetrical anesthesiologist, and former U.S.
      Navy physician, who serves as a key advocate in the Coalition for Cannabis Scheduling Reform.

      12 Toce MS, Michelson KA, Hudgins JD, Olson KL, Bourgeois FT. Trends in Benzodiazepine Prescribing for US

      Adolescents and Young Adults From 2008 to 2019. JAMA Pediatr. 2022;176(3):312-313.
      doi:10.1001 /jamapediatrics.2021.5122; FDA, FDA Adverse Event
      Reporting System (FAERS) Public Dashboard, https://www.fda.gov/drugs/questions-and-answers-fdas-adverse-
      event-reporting-system-faers/fda-adverse-event-reporting-system-faerspublic-
      dashboard (last visited Mar. 20, 2023) (According to that data, approximately 3 percent or less of drug abuse adverse
      event reports involve marijuana-far less than many other controlled substances, including substances in schedule
      V.)
      13 Letter from HHS to DEA, Basis for Recommendation to Reschedule Marijuana into Schedule ill of the

      Controlled Substances Act (Aug. 29, 2023) at 64-65.

                             Request to Participate in a Hearing & Notice of Appearance I 7




                                                                                                              App.1386
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     Vicente.
      As a medical advisor to multiple organizations, including the Veteran's Cannabis Project, and as
      a governor-appointed member of the New Hampshire Therapeutic Medical Cannabis Oversight
      Board, Dr. Burchman offers valuable insight into the medical efficacy of cannabis and its potential
      for harm reduction. Dr. Burchman is well-positioned to provide expert testimony on the necessity
      of rescheduling cannabis under the Controlled Substances Act.

      Dr. Alan Shackelford has trained and worked as an internal medicine, nutritional medicine,
      behavioral medicine, and occupational medicine physician and is also an expert on the risk
      potential of marijuana and on its therapeutic uses. Dr. Shackelford brings a wealth of knowledge
      on the medical efficacy and safety of marijuana. With extensive experience treating patients
      suffering from opioid dependence and conditions such as Parkinson's and inflammatory bowel
      disease, Dr. Shackelford advocates for marijuana as a safer and more effective treatment option.
      As a trained internist and researcher (at the University of Heidelberg in Germany and Harvard
      Medical School hospitals), his work has been hindered by marijuana's schedule I status, and he is
      prepared to provide critical insights on the importance of rescheduling to advance medical research
      and patient care.

      Marijuana, like most drugs, can be "abused". But what constitutes "abuse" in the context of a
      culturally available and state-regulated substance cannot be based simply on whether, on occasion,
      an individual consumes the substance on their own initiative rather than based on medical advice,
      when no harm befalls the individual. A glass of wine with dinner, or the use of pain management
      medication, including Tylenol, in line with a doctor's recommendation, are not considered
      "abuse". 14 Likewise, occasional marijuana consumption per a doctor's recommendation, and use
      which presents no individual or societal harm is also not "abuse". The Proposed Rule recognizes
      that "the vast majority of individuals who use marijuana are doing so in a manner that does not
      lead to dangerous outcomes to themselves or others." None of that is "abuse", and in assessing
      prevalence as part of a potential abuse assessment, DEA should neither include medical uses of
      marijuana nor non-problematic non-medical uses. Relatedly, state-legal medical marijuana
      frameworks reduce marijuana's abuse potential due to strict labeling, packaging, testing, potency,
      and provider recommendation and guidance requirements. Sensible Colorado is well situated to
      provide evidence at the December 2, 2024, hearing to support this approach.

      While the Proposed Rule would reschedule marijuana to schedule m, certain crucial
      consequences of this momentous decision remain unanswered. Sensible Colorado is well, and
      uniquely, positioned to present evidence addressing these unanswered questions. Sensible
      Colorado is a nonprofit organization with members that include many participants in Colorado's
      state-legal, regulated medical marijuana program. Colorado has one of the longest standing state
      and local regulated medical marijuana programs in the country. Sensible Colorado's members
      include researchers, healthcare providers, and veterans. The Proposed Rule will, once finalized,
      directly affect Sensible Colorado and its members. Among other things, "if marijuana is transferred
      into schedule III, DEA will continue to have authority to maintain its existing regulatory scheme .
      . . governing the registration of manufacturers seeking to plant, grow, cultivate, or harvest

      14 States with medical marijuana programs require a doctor's recommendation to access the medical marijuana

      market, and doctor's recommendations outline the limits to a patient's access to marijuana and marijuana products,
      in terms of purchase limits. The use of marijuana in this manner is not abuse.

                             Request to Participate in a Hearing & Notice of Appearance I 8




                                                                                                              App.1387
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     Vicente.
      marijuana." Id. at 44,620; see also id. at 44,621 ("If marijuana is transferred to schedule III, the
      regulatory controls applicable to schedule III-controlled substances would apply, as appropriate.").
      In other words, Sensible Colorado and its members may be subject to additional controls pursuant
      to the CSA's regulatory authorities, as well as any other regulatory controls applicable to schedule
      III substances. OLC, Questions Related to the Potential Rescheduling of Marijuana, at 4 (Apr. 11,
      2024). Accordingly, Sensible Colorado requests to participate in the hearing.

                           D. Sensible Colorado Meets the Requirements for Standing

      Sensible Colorado has standing to participate in a hearing if one occurs. Sensible Colorado is
      an Interested Person and falls within the CSA's zone of interests. Further, Sensible Colorado and
      its members will be both directly adversely affected and aggrieved by the Proposed Rule, if
      finalized.

                                                        1.

      The Proposed Rule is a "scheduling action" issued under 21 U.S.C. § 81 l(a). Id. at 44,598; id. at
      44,621. The Administrative Procedure Act ("APA"), the CSA, and DEA regulations set out the
      governing standards for this scheduling action and related rulemaking proceedings. See id. at
      44,598-99.

      Under the APA, 5 U.S.C. § 555(b), "an interested person may appear before an agency or its
      responsible employees for the presentation, adjustment, or determination of an issue, request, or
      controversy in a proceeding," " [s]o far as the orderly conduct of public business permits." DEA
      regulations accordingly provide that an Interested Person may file a request to participate in a
      hearing. 21 C.F.R. § 1308.44(c). As the Proposed Rule was promulgated under 21 U.S.C. § 81 l(a),
      DEA's definition oflnterested Person may apply here. See Proposed Rule at 44,598; id. at 44,621.
      We note that DEA has not formally defined "adversely affected or aggrieved" for purposes of the
      definition of an Interested Person." See In the Matter of Scheduling 4-OH-DiPT, 5-MeO-AMT, 5-
      MeO-MiPT, 5-MeO-DET, and DiPT, DEA Dkt. No. 22-15 (May 6, 2022) at 2 ("ALJ Order").
      ALJs have correctly concluded that it is sufficient that a person falls within the CSA's "zone of
      interests" to be considered adversely affected or aggrieved. See id. at 5--6. As the discussion that
      follows demonstrates, Sensible Colorado qualifies as an Interested Person under either standard.

                                                       2.

      Sensible Colorado is an Interested Person for two primary reasons.

      First, Sensible Colorado falls within the CSA's "zone of interests." In May 2022, a DEA ALJ
      concluded that the test for "adversely affected or aggrieved"-and consequently, Interested
      Person-was satisfied when the person fell within the "zone of interests" to be regulated by the
      CSA. ALJ Order at 10. The Supreme Court of the United States has explained that the "zone of
      interests" test is "not meant to be especially demanding" given Congress' intent to "make agency
      action presumptively reviewable." Match-E-Be-Nash-She-Wish Band of Pottawatomi Indians v.
      Patchak, 567 U.S. 209, 225 (2012) (citation omitted).



                          Request to Participate in a Hearing & Notice of Appearance I 9




                                                                                               App.1388
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     Vicente.
      A party falls "within the zone of interests," the ALJ explained, "if they are regulated by the
      particular agency action being challenged, or if they are considered to be protected by the statute
      in question." ALJ Order at 5 (quoting MD Pharm. , Inc. v. DEA, 133 F.3d 8, 12 (D.C. Cir. 1998)).
      Regarding the CSA, the Supreme Court has noted that the statute was enacted with "the main
      objectives of combating drug abuse and controlling the legitimate and illegitimate traffic in
      controlled substances." Gonzales v. Oregon, 546 U.S. 243, 250 (2005).

      Sensible Colorado falls within the CSA' s zone of interests. To start, Sensible Colorado and its
      members are regulated by the Proposed Rule and the CSA. Sensible Colorado and its members are
      actively involved in the state-legal marijuana industry. Each day, Sensible Colorado supports the
      state-regulated market for medical marijuana and medical marijuana products and actively fights
      against the perils of the illicit marketplace; and each day, its members purchase and use medical
      marijuana. And as we outline below, Sensible Colorado and its members may see new marijuana-
      specific controls related to marijuana-related activities under the Proposed Rule. Proposed Rule at
      44,620-21 .

      In light of the foregoing, Sensible Colorado satisfies both standing tests reviewed in Students for
      Fair Admissions. Under the first test, an organization may demonstrate standing by showing that
      it is injured in its own right. 600 U.S. at 199. As described throughout this request, Sensible
      Colorado has suffered a concrete injury itself as a result of the Proposed Rule. Among other things,
      Sensible Colorado spends time, money, and other resources to advocate for a regulated,
      responsible medical marijuana marketplace, and the Proposed Rule imperils these expenditures.
      Under the second test, associational standing is demonstrated when an organization can show "(a)
      its members would otherwise have standing to sue in their own right; (b) the interests it seeks to
      protect are germane to the organization's purpose; and (c) neither the claim asserted nor the relief
      requested requires the participation of individual members in the lawsuit." Id. (quoting Hunt v.
      Washington State Apple Advertising Comm 'n, 432 U.S. 333,343 (1977)). Sensible Colorado meets
      each of these elements. As discussed herein, Dr. Corey Burchman, Dr. Alan Shackelford, Todd
      Young, Daniel Molina, Anonymous, Anonymous #2, and Anonymous #3, among other Sensible
      Colorado members, have standing to participate, which, in turn, confers standing upon Sensible
      Colorado. The interests Sensible Colorado seeks to protect are germane to the organization's
      purpose: to foster a viable, safe, and regulated medical marijuana market with particular attention
      to public health and safety and consumer protection. Sensible Colorado can serve as a
      representative of its members in this proceeding, and the participation of individual members is
      not required.
      Additionally, Sensible Colorado, satisfies the APA's standard to sue DEA in federal district court
      in relation to the Proposed Rule; 5 U.S.C. § 551 et seq., authorizes suit to challenge a federal
      agency by any "person ... adversely affected or aggrieved .. . within the meaning of a relevant
      statute." § 702. The Supreme Court has held that this language establishes a regime under which
      a plaintiff may not sue unless he "falls within the 'zone of interests' sought to be protected by the
      statutory provision whose violation forms the legal basis for his complaint." Lujan v. National
      Wildlife Federation, 497 U.S. 871, 883 (1990). The Supreme Court has described the "zone of
      interests" test as denying a right of review "if the plaintiffs interests are so marginally related to
      or inconsistent with the purposes implicit in the statute that it cannot reasonably be assumed that

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                                                                                                 App.1389
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     Vicente.
      Congress intended to permit the suit." Clarke v. Securities Industry Assn., 479 U.S. 388, 399-400
      (1987). For the reasons explained herein, Sensible Colorado meets this standard and falls within
      the zone of interests of the CSA and the Proposed Rule.


      Second, Sensible Colorado and its members would be adversely affected or aggrieved by the
      Proposed Rule, if finalized. Sensible Colorado and its members are prepared to present evidence
      on these facts at the hearing:

         •   Medical research involving marijuana, particularly as it relates to veterans' access:
             Research on marijuana's medical efficacy has been difficult to conduct because of
             marijuana's status as a schedule III substance. While this impacts all medical marijuana
             patients, it has particularly affected veterans' access to medical marijuana. Nonetheless,
             the research that has been done supports the conclusion that marijuana should be removed
             from schedule I of the CSA. Sensible Colorado, through Dr. Corey Burchman and/or Dr.
             Alan Shackelford, is well prepared to present expert witness evidence of this at DEA's
             December 2, 2024, hearing.

         •   Marijuana's medical efficacy: Many states, including Colorado, have decades old
             medical marijuana programs which recognize marijuana's medical use in treatment for
             numerous conditions, including chronic pain. Public health has substantially benefitted
             from marijuana's availability as part of medical treatment regimes. Sensible Colorado is
             uniquely situated to provide expert witness evidence of this. Sensible Colorado Members,
             including Dr. Corey Burchman and/or Dr. Alan Shackelford, is well prepared to present
             expert witness evidence of this at DEA's December 2, 2024, hearing.

         •   The effects of the Proposed Rule on members of Sensible Colorado who are minority
             owned-owned/small businesses and on members whose communities have been
             impacted by the war on drugs: Anonymous #3 is a privately owned business operating
             within the state-legal medical and adult use Colorado marijuana programs. It started
             providing medical marijuana to Colorado patients in 2010 and continues to do so today.
             With the burden of 280E strangling the industry, if DEA fails to move marijuana outside
             of schedules I and II, Anonymous #3, along with many other responsible and regulated
             companies may have to shut down their operations. The inapplicability of280E would also
             allow Anonymous #3 to better compete with the illicit market, further deteriorating its
             influence on the market. Owners of Anonymous #3 are prepared to present written expert
             testimony on the extreme burden 280E places on small business such as themselves and
             how the removal of that burden will not only allow the company to continue operating but
             also provide a benefit to the communities in which Anonymous #3 operates.

             Todd Young, a disabled medical marijuana patient, has been severely impacted by
             marijuana's schedule I status. After breaking his back, he credits medical marijuana with
             saving his life, allowing him to avoid far more dangerous substances. Despite possessing a
             valid medical marijuana license, he has faced arrest, financial hardship, and family
             separation. Living on the Mohawk Nation's reservation to grow enough marijuana for his



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     Vicente.
            medical needs, Todd is a powerful advocate for descheduling, which would allow him to
            reunite with his family and grow his medicine without fear oflegal consequences.

            Daniel Molina, a veteran of the Global War on Terror and a disabled U.S. Army Combat
            Medic, has been deeply affected by marijuana's schedule I status. After serving overseas
            for over two and half years, Molina returned home with multiple disabling conditions and
            a 90% VA disability rating. He found that medical marijuana was the most effective
            treatment for his symptoms but was forced to relocate from Texas to Colorado to access it
            legally. Now a third-year law student and law clerk at Vicente LLP, Molina advocates for
            veterans' rights and highlights the life-saving potential of medical marijuana for those
            suffering from service-related disabilities.

            Anonymous, a longstanding medical marijuana patient over the age of 60, relies solely on
            cannabis to manage the symptoms of a rare form of muscular dystrophy. Due to fear of
            arrest, this individual remains anonymous, but their story highlights the severe limitations
            imposed by marijuana's schedule I status. Despite the relief provided by medical
            marijuana, they have been forced to rely on the illicit market and live in constant fear of
            losing access to this vital treatment. Their testimony underscores the urgent need for
            rescheduling to protect patient rights and improve access to life-saving medicine.

            Anonymous #2, a medical marijuana patient diagnosed with Complex PTSD, has faced
            significant professional and personal hardships due to marijuana's schedule I status.
            Despite being qualified and headhunted for positions, they have been denied employment,
            including at RTD Denver, because of their medical marijuana use. This individual also
            experiences fear while traveling and is separated from family in states where medical
            marijuana is not recognized. Their story highlights the pervasive stigma and discrimination
            faced by patients and underscores the need for rescheduling to protect patient rights and
            improve societal understanding.

        •   The abuse potential, public health risks, and illicit market for Marijuana: The public
            health risks of marijuana are far less significant than fentanyl, cocaine, or other controlled
            substances in schedule II. Further, marijuana poses less public health risks than substances
            in schedules III, IV, and V; this includes benzodiazepines (controlled in schedule IV of the
            CSA), antipsychotics (control varies; in the case of risperidone and aripiprazole,
            uncontrolled), and cough medicines containing codeine (controlled in schedule V of the
            CSA). Sensible Colorado is prepared to present expert testimony on marijuana's abuse
            potential, currently accepted medical use in treatment in the United States, and the
            placement of marijuana on the CSA's schedules. Dr. Alan Shackelford, a member and
            advisor to Sensible Colorado, is prepared to testify about the abuse potential of marijuana
            compared to other controlled substances.

        •   Marijuana's usefulness in replacing other more harmful substances (i.e. alcohol and
            opioids): As the opioid crisis continues to plague our country, and as the long-term effects
            of substances like alcohol and benzodiazapines become more and more clear, marijuana is
            a useful tool in treating multiple public health crisis's. Marijuana is particularly useful as a
            substitute for other more harmful substances, and it has value for those wishing to reduce

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     Vicente.
              their consumption of other more harmful substances. Sensible Colorado has members,
              including Todd Young and Daniel Molina, who are well prepared to present factual
              testimony of this; and Sensible Colorado is well prepared to present expert witness
              testimony of this.

          •   Todd Young, Anonymous, and Anonymous #2, among other members of Sensible
              Colorado, have had to live with the risk, and the psychological impacts of the risk, of
              arrest and prosecution for personal possession of state-legal medical marijuana. This
              is a risk that all patients under state-legal medical marijuana programs currently face. These
              members are prepared to present testimony to this effect.


          •   The practical consequences of rescheduling marijuana: DOJ acknowledges that it is
              seeking comments on the "practical consequences of rescheduling marijuana into schedule
              III under the relevant statutory frameworks." Proposed Rule at 44,621. Sensible Colorado
              is prepared to provide expert testimony and documentary evidence on the practical
              consequences of rescheduling across the marijuana supply chain, from seed to sale.

      Concurrent with this rulemaking, the agency is considering marijuana-specific controls associated
      with international treaty obligations. Proposed Rule at 44,599. The Office of Legal Counsel
      ("OLC") concluded that "additional controls pursuant to the CSA's regulatory authorities" may be
      necessary. OLC, Questions Related to the Potential Rescheduling of Marijuana, at 4 (Apr. 11,
      2024). New DEA controls would adversely impact how Sensible Colorado's members access
      medical marijuana and would impose new costs. Without knowing what the new regulations will
      be, current state-legal medical marijuana patients face the risk that forthcoming regulations will
      make their respective state programs subject to increased enforcement action from DEA. This is
      especially concerning given that state-legal medical marijuana programs can't rely on Congress to
      reapprove the rider which prohibits the federal government from spending funds to police state-
      legal medical marijuana programs. 15

      Sensible Colorado has members like Todd Young, Daniel Molina, Anonymous, and Anonymous
      #2, who utilize the state-legal medical marijuana program, in particular. Despite the millions of
      patients and tens of thousands of licensed healthcare professionals using and recommending
      medical marijuana products in treatment across the country, the federal government had, until this
      administrative process, repeatedly insisted that marijuana had no currently accepted medical use
      in treatment in the United States.

      Accordingly, Sensible Colorado submits this filing to participate to the fullest extent permissible
      by law in this rulemaking hearing. Sensible Colorado is an Interested Person because the Proposed
      Rule would adversely affect and aggrieve Sensible Colorado and its members.


      15"In each budget cycle since FY2014, Congress has passed an appropriations rider barring the Department of

      Justice (DOJ) from using taxpayer funds to prevent states from 'implementing their own laws that authorize the use,
      distribution, possession, or cultivation of medical marijuana."' Legal Consequences ofRescheduling Marijuana,
      Congressional Research Service (May 1, 2024),
      https://crsreports.congress.gov/product/pdf/LSB/LSB 11105#:-:text=In%20each%20budget%20cycle%20since,marij
      uana. %E2%80%9D%20Courts%20have%20interpreted%20the.

                            Request to Participate in a Hearing & Notice of Appearance I 13




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     Vicente.
      Put simply, the Proposed Rule, if finalized, would directly and adversely affect Sensible Colorado
      and its members. Sensible Colorado needs to show only administrative standing, rather than Article
      III standing, to participate in this administrative proceeding. Animal Legal Def Fund, Inc. v.
      Vi/sack, 237 F. Supp. 3d 15, 21 (D.D.C. 2017) (discussing a lower threshold required for
      "administrative standing" compared to Article III standing). However, for all the reasons just
      described, Sensible Colorado meets the requirements of both standards. Broad participation in
      agency proceedings and an expansive understanding of the term "Interested Person" are often
      necessary because the agency' s decision-making implicates public policy. Id.

                E. No Basis Exists to Deny Sensible Colorado's Participation in the Hearing

      Sensible Colorado represents medical marijuana patients in Colorado that are directly and
      adversely affected by the Proposed Rule. Sensible Colorado is thus uniquely situated to assist
      DEA's administrative decision-making. Sensible Colorado has extensive knowledge and
      experience regarding the practical effects of the Proposed Rule on the state-legal, regulated
      medical marijuana marketplace. DEA has sought comments related to the practical consequences
      ofrescheduling marijuana. Proposed Rule at 44,621 . Sensible Colorado is particularly well situated
      to provide this insight.

      No basis exists to deny Sensible Colorado's participation if DEA convenes a hearing. In fact, none
      of the reasons which courts have cited to deny a movant's participation in an administrative
      proceeding apply here. See Nichols v. Bd. of Trustees ofAsbestos Workers Loe. 24 Pension Plan,
      835 F.2d 881, 897 (D.C. Cir. 1987). Collecting cases, the D.C. Circuit noted that courts had denied
      participation when (i) other parties to the proceeding adequately represent the would-be
      participant's viewpoint; (ii) participation would unduly broaden the issues considered or obstruct
      or overburden the proceedings; or (iii) participation would fail to assist the agency's decision-
      making. Id.

      First, no other participant in the rulemaking would adequately represent Sensible Colorado's
      viewpoint. 16 Sensible Colorado has interests in the rulemaking proceedings distinct from those of
      DEA. Sensible Colorado represents an important and diverse group of interests that can speak to
      marijuana's medical efficacy, the abuse potential and public health risks of marijuana, and
      marijuana's potential for replacing the use of other more harmful substances (i.e. alcohol and
      opioids), among other topics.

      Second, Sensible Colorado's participation would not unreasonably broaden the issues under
      consideration in the Proposed Rule or obstruct proceedings. DEA has sought information on the
      practical consequences of rescheduling. Sensible Colorado is prepared to provide that perspective
      at the hearing. Sensible Colorado would abide by requirements and briefing standards applicable
      to other participants in the formal rulemaking procedure.

      Third, Sensible Colorado's participation would benefit the agency's decision-making process. As
      noted above, Sensible Colorado's unique perspective would provide insight into: (i) medical and

      16 While this filing is made without knowledge of other participants in the potential ALJ hearing, Sensible Colorado

      provides a unique perspective that would not be cumulative to or adequately represented by other participants if
      DEA grants a hearing on the Proposed Rule.

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     Vicente.
      scientific research involving marijuana, including as it relates to veterans' access; (ii) marijuana's
      medical efficacy, including the use of marijuana in the practice of medicine in the U.S. under state-
      legal programs (particularly in Colorado); (iii) the effects of the Proposed Rule on members of
      Sensible Colorado who are minority-owned/small businesses and on members whose communities
      have been impacted by the war on drugs ; ; (iv) the abuse potential, public health risks, and illicit
      market for marijuana; (v) marijuana' s usefulness in replacing other more harmful substances (i.e.
      alcohol and opioids); (vi) the specific ways Sensible Colorado's members will be adversely
      affected and aggrieved by the Proposed Rule, if finalized; and (vii) the practical consequences of
      rescheduling marijuana. Sensible Colorado is prepared to present expert testimony on these issues.

      For all these reasons Sensible Colorado hereby requests the ability to participate in the
      rulemaking process to the fullest extent permissible by law and participate in the December
      2, 2024, hearing.


      All notices and correspondence to be sent pursuant to this appearance should be addressed to me
      at the address provided below.

                                                    Respectfully yours,

                                                    Isl Timothy D. Swain
                                                    Timothy D. Swain
                                                    VicenteLLP
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                                                    Boston, MA 02199
                                                    T.Swain@VicenteLLP.com

                                                    Shawn Hauser
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                                                    Jason Adelstone
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                         Request to Participate in a Hearing & Notice of Appearance I 15




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     Vicente.


      Enclosures:

         •   Exhibit A: Declaration of Dr. Corey Burchman
         •   Exhibit B: Declaration of Dr. Alan Shackelford
         •   Exhibit C: Declaration of Todd Young
         •   Exhibit D: Declaration of Daniel Molina
         •   Exhibit E: Declaration of Anonymous
         •   Exhibit F: Declaration of Anonymous #2
         •   Exhibit G: Declaration of Anonymous #3




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                         EXHIBIT A
                       Declaration of
                 Dr. Corey Burchinan




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       1 Drug Enforcement Administration
         Attn: Hearing Clerk/OALJ
       2 8701 Morrissette Drive
       3 Springfield, VA 22152

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       7
           In the matter of the Rescheduling
       8 of Marijuana, 89 Fed. Reg. 44,597     EXPERT WITNESS DECLARATION
                                                 OF DR. COREY BURCHMAN
       9 Docket No. DEA-1362
      10   Currently scheduled for December
           2, 2024, at 9:00am E.T.
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                        EXPERT WITNESS DECLARATION OF DR. COREY BURCHMAN




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       1             EXPERT WITNESS DECLARATION OF DR. COREY BURCHMAN
       2             I, Dr. Corey Burchman declare as follows:
       3             1.    I have personal knowledge of the facts set forth herein, and if called as a
       4 witness, I can, and will, competently testify to the matters stated herein.
       5             2.    I am a neuro-anesthesiologist and obstetrical anesthesiologist, and a
       6 former U.S. Navy physician.
       7             3.    I am a member of the Coalition for Cannabis Scheduling Reform, a
       8 medical advisor to the Veteran's Cannabis Project, and a board member of Hemp for
       9 Victory. I am also a governor-appointed member of the New Hampshire Department
      10 of State Therapeutic Medical Cannabis Oversight Board, and I am an active medical
      11 professor at the Geisel School of Medicine at Dartmouth.
      12             4.    In the context of Point 3, in my role as a medical advisor to the Coalition
      13 for Cannabis Scheduling Reform, I offer learned opinions on the subject of harm
      14 reduction, addiction potential, and rescheduling as it pertains to federal marijuana
      15 policy.
      16             5.    I will provide relevant information on marijuana's benefit as a
      17 replacement for various controlled substances and information supporting
      18 marijuana's medical efficacy and its lower abuse potential relative to other
      19 substances controlled under the Controlled Substances Act.
      20             6.    No other party to these proceedings will adequately represent my
      21 viewpoints.
      22             7.    My participation will not unduly broaden the issues considered or
      23 obstruct or overburden the proceedings.
      24
      25
      26             I declare that the foregoing is true and correct.
      27             Executed September 28, 2024.
      28

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                             EXPERT WITNESS DECLARATION OF DR. COREY BURCHMAN




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                                            Dr. Corey Burchman
       3                                    CBurchman@gmail.com
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                     EXPERT WITNESS DECLARATION OF DR. COREY BURCHMAN




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                         EXHIBITB
                       Declaration of
                Dr. Alan Shackelford




                                                             App.1400
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       1 Drug Enforcement Administration
         Attn: Hearing Clerk/OALJ
       2 8701 Morrissette Drive
       3 Springfield, VA 22152

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           In the matter of the Rescheduling
       8 of Marijuana, 89 Fed. Reg. 44,597     EXPERT WITNESS DECLARATION
                                                OF ALAN SHACKELFORD, M.D.
       9 Docket No. DEA-1362
      10   Currently scheduled for December
           2, 2024, at 9:00am E.T.
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                       EXPERT WITNESS DECLARATION OF DR. ALAN SHACKELFORD




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       1             EXPERT WITNESS DECLARATION OF DR. ALAN SHACKELFORD
       2             I, Dr. Alan Shackelford, declare as follows:
       3             1.    I have personal knowledge of the facts set forth herein, and if called as a
       4 witness, I can, and will, competently testify to the matters stated herein.
       5             2.    I have trained and worked as an internal medicine, nutritional
       6 medicine, behavioral medicine and occupational medicine physician and I am an
       7 expert on the risk potential of marijuana and on its therapeutic uses.
       8             3.    I have worked extensively with opioids in the past and have seen the
       9 value that marijuana provides my patients. Marijuana is a safer and more effective
      10 means of treatment than opioids for many patients.
      11             4.    I have also seen the benefit that marijuana provides in the treatment of
      12 various diseases such as Parkinson's disease and inflammatory bowel disease.
      13             5.    I trained at the University of Heidelberg in Germany and at Harvard
      14 Medical School hospitals in the United States. I am a Harvard Medical School-
      15 trained internist and researcher and co-authored a number of research papers at
      16 both universities. My research on marijuana's efficacy and abuse potential has been
      17 severely impacted and limited due to marijuana's status as a Schedule I substance,
      18 particularly as it relates to the cost of conducting research on marijuana in the
      19 United States.
      20             6.    I have been stigmatized by colleagues and by professional institutions
      21 for my interest in the use of marijuana as a medical treatment and in properly
      22 studying those uses.
      23             7.    I first encountered patients using marijuana for medical purposes circa
      24 2008-2009. In 2012, I authorized the use of a specific medical marijuana extract by
      25 Charlotte Figi, a five-year-old suffering 300 grand-mal seizures a week. Despite its
      26 success in stopping the seizures, I had to answer to the medical director of the
      27 Colorado Department of Public Health and was in fear of losing my medical license
      28 and ability to make a living.

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                            EXPERT WITNESS DECLARATION OF DR. ALAN SHACKELFORD




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       1             8.    Based on my 15 years of experience, if marijuana were rescheduled or
       2 descheduled, I would prescribe it as a highly effective treatment for numerous
       3 conditions and diseases.
       4             9.    I will provide relevant information on marijuana's medical efficacy and
       5 minimal relative abuse potential, as well as the impact that rescheduling or
       6 descheduling would have on the costs and extreme difficulties associated with
       7 conducting research on marijuana.
       8             10.   No other party to these proceedings will adequately represent my
       9 viewpoints.
                     11.   My participation will not unduly broaden the issues considered or
      11 obstruct or overburden the proceedings.
      12
      13             I declare that the foregoing is true and correct.
      14 Executed September 30, 2024.
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      16
      17                                               Alan Shackelford, M.D.
      18                                               Arzt84@yahoo.com
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                            EXPERT WITNESS DECLARATION OF DR. ALAN SHACKELFORD




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                         EXHIBITC
                       Declaration of
                         Todd Young




                                                             App.1404
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       1 Drug Enforcement Administration
           Attn: Hearing Clerk/OALJ
       2 8701 Morrissette Drive
           Springfield, VA 22152
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         In the matter of the Rescheduling
       8 of Marijuana, 89 Fed. Reg. 44,597              FACTUAL WITNESS
                                                   DECLARATION OF TODD YOUNG
       9 Docket No. DEA-1362
      10 Currently scheduled for December
         2, 2024, at 9:00am E.T.
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                               EXPERT WITNESS DECLARATION OF TODD YOUNG




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       1                   EXPERT WITNESS DECLARATION OF TODD YOUNG
       2             I, Todd Young, declare as follows:
       3             1.    I have personal knowledge of the facts set forth herein, and if called as a
       4 witness, I can, and will, competently testify to the matters stated herein.
       5             2.    I am a disabled medical marijuana patient who has been severely
       6 impacted by marijuana's status as a schedule I substance.
       7             3.    I have been harmed by my inability to travel between states with my
       8 personal supply of medical marijuana and by not being able to cultivate marijuana
       9 plants in a high enough number to meet my own medical needs.
                     4.    I broke my back many years ago, and if it were not for medical
      11 marijuana, I'm certain that I would have died many years ago due to complications
      12 from much more dangerous substances.
      13             5.    I need to consume medical marijuana in a concentrated form to
      14 effectively treat my condition, and I am not allowed to personally extract my own
      15 concentrate from my marijuana plants; this has caused me significant financial harm
      16 because I have had to buy these products at inflated prices.
      17             6.    I was arrested in Jefferson County, Colorado many years ago for
      18 possession of marijuana, despite having a valid medical marijuana license.
      19             7.    My children have faced hazing and inappropriate behavior from
      20 schoolmates because of my appearance in the media related to my marijuana use;
      21 and I have lived in fear of losing my children to the state due to this.
      22             8.    I currently live on the Mohawk Nation's reservation in order to grow the
      23 amount of marijuana that I need to survive. Because of this I am separated from my
      24 family and am only rarely able to travel to see them.
      25             9.    Because of the proximity of the Mohawk Nation to the Canadian border,
      26 I have encountered U.S. border patrol when leaving the reservation, and they have
      27 taken my medical marijuana from me on multiple occasions.
      28

           5114973                                        1
                                 EXPERT WITNESS DECLARATION OF TODD YOUNG




                                                                                      App.1406
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       1             10.   If marijuana were descheduled, I would be able to leave the reservation
       2 and rejoin my family; I would be able to grow a sufficient amount of plants to treat
       3 my condition without fear of persecution and incarceration.
       4             11.   I will provide relevant information on marijuana's value to me as a
       5 disabled individual, and I will explain how descheduling marijuana will positively
       6 impact my life, the lives of my family members, and the lives of those that are in
       7 similar circumstances to my family and I.
       8             12.   No other party to these proceedings will adequately represent my
       9 viewpoints.
                     13.   My participation will not unduly broaden the issues considered or
      11 obstruct or overburden the proceedings.
      12
      13             I declare that the foregoing is true and correct.
      14             Executed September 27, 2024.
      15
                                                              Todd Young
      16
                                                           Todd Young
      17                                                   Pabilsag02@gmail.com
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                                  EXPERT WITNESS DECLARATION OF TODD YOUNG




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                         EXHIBITD
                       Declaration of
                       Daniel Molina




                                                             App.1408
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       1 Drug Enforcement Administration
           Attn: Hearing Clerk/OALJ
       2 8701 Morrissette Drive
           Springfield, VA 22152
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         In the matter of the Rescheduling
       8 of Marijuana, 89 Fed. Reg. 44,597              FACTUAL WITNESS
                                                     DECLARATION OF DANIEL
       9 Docket No. DEA-1362                                MOLINA

      10 Currently scheduled for December
         2, 2024, at 9:00am E.T.
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                             EXPERT WITNESS DECLARATION OF DANIEL MOLINA




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       1                  EXPERT WITNESS DECLARATION OF DANIEL MOLINA
       2             I, Daniel Molina, declare as follows:
       3             1.    I have personal knowledge of the facts set forth herein, and if called as a
       4 witness, I can, and will, competently testify to the matters stated herein.
       5             2.    I am a disabled U.S. Army Combat Medic veteran of the Global War on
       6 Terror. I served at a level 1 trauma center where I treated casualties from both the
       7 wars in Iraq and Afghanistan before serving as a combat medic in Afghanistan in the
       8 101 st Airborne Division, 2nd Battalion, 327 th Infantry Regiment, from 2012 to 2013.
       9             3.    I left the Army with an Honorable Discharge in December of 2013 after
      10 completing two terms of service.
      11             4.    I now suffer from over a half dozen diagnosed disabling conditions, and I
      12 have a combined Department of Veterans Affairs (''VA") disability rating of 90%.
      13             5.    The VA prescribed me numerous prescription medications after I left
      14 the service, and I suffered from the side effects of those medications. As a result I
      15 started researching adequate alternatives to help meet my day-to-day needs related
      16 to my disabilities. I ultimately discovered that marijuana, in various forms, was
      17 effective at treating the vast majority of the symptoms associated with my
      18 disabilities.
      19             6.    In 2015, about 2 years after leaving the service, I was living in Texas,
      20 and I was in great fear that I could be reported by my neighbors for using marijuana,
      21 in my apartment, to help treat my symptoms. At the time my apartment was the only
      22 place I felt comfortable using marijuana, after receiving a citation for being in
      23 possession of marijuana paraphernalia at a state park.
      24             7.    I determined that relocating to Colorado to become a registered medical
      25 marijuana patient was paramount to improving my health and to avoid being
      26 arrested for using marijuana.
      27             8.    At the time, I was a student at Austin Community College ("ACC") and I
      28 was working for a state representative at the Texas Capital. I had hoped to transfer

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                                EXPERT WITNESS DECLARATION OF DANIEL MOLINA




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       1 from ACC to the University of Texas and to continue my work at the state
       2 legislature, but it was clear that by staying in Texas, where no medical marijuana
       3 program existed, I was risking my educational and professional future.
       4             9.    In May of 2015, I moved to Colorado, enrolled in the medical marijuana
       5 program, and enrolled at the University of Colorado at Colorado Springs ("UCCS").
       6             10.   After graduating from my undergraduate program at UCCS in 2018, I
       7 started considering graduate programs in Texas due to the new Texas
       8 Compassionate Use Program. However, that program was wholly inadequate for my
       9 medical needs and I decided to enroll in a graduate program at UCCS.
      10             11.   Similarly, prior to attaining my graduate degree in 2022, I applied to
      11 law school programs in several states, including Texas and Colorado. I was granted a
      12 full-ride scholarship to Texas Southern University's law program, and a substantial
      13 scholarship to the University of Houston's program, where Texas' Hazelwood Act
      14 would have paid the remainder of my tuition.
      15             12.   However, the political and regulatory climate in Texas had still not
      16 moved in a direction where I would have felt safe in Texas as someone who used
      17 marijuana for medicinal purposes. I decided to stay in Colorado and attend the
      18 University of Denver's law program, where I had been accepted. I have now had to
      19 take out over $100,000.00 in student loans to pay for my law degree, which is still in
      20 progress.
      21             13.   I am now in my third year of law school and I work as a law clerk at
      22 Vicente LLP, where I can contribute to the evolving landscape for marijuana in the
      23 states and at the federal level.
      24             14.   I have been substantially impacted by marijuana's status as a schedule
      25 I substance under the Controlled Substances Act.
      26             15.   I will provide relevant information on the (1) harm to veterans
      27 attributable to marijuana's status as a schedule I substance; (2) marijuana's
      28 usefulness in treating a half dozen disabilities, which I sustained as a result of my

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                               EXPERT WITNESS DECLARATION OF DANIEL MOLINA




                                                                                     App.1411
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       1 service to the United States of America; and (3) the deaths of fellow service members
       2 which could have been mitigated had they had access to adequate medical marijuana
       3 as a substitute to prescription drugs.
       4             16.   No other party to these proceedings will adequately represent my
       5 viewpoints.
       6             17.   My participation will not unduly broaden the issues considered or
       7 obstruct or overburden the proceedings.
       8
       9             I declare that the foregoing is true and correct.
      10             Executed September 27, 2024.
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                                                           Daniel Molina
      13                                                   Danielmolina1236@gmail.com
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                                EXPERT WITNESS DECLARATION OF DANIEL MOLINA




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                         EXHIBITE
                       Declaration of
                         Anonytnous




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       1 Drug Enforcement Administration
           Attn: Hearing Clerk/OALJ
       2 8701 Morrissette Drive
           Springfield, VA 22152
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         In the matter of the Rescheduling
       8 of Marijuana, 89 Fed. Reg. 44,597              FACTUAL WITNESS
                                                   DECLARATION OF ANONYMOUS
       9 Docket No. DEA-1362
      10 Currently scheduled for December
         2, 2024, at 9:00am E.T.
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                               EXPERT WITNESS DECLARATION OF ANONYMOUS




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       1               EXPERT WITNESS DECLARATION OF ANONYMOUS
       2         I, ANONYMOUS, declare as follows:
       3         1.    I have personal knowledge of the facts set forth herein, and if called as a
       4 witness, I can, and will, competently submit written testimony to the matters stated
       5 herein.
       6         2.    I am a longstanding medical marijuana patient over the age of 60.
       7         3.    I desire to remain anonymous because I live in constant fear that my
       8 medical use of marijuana will lead to my arrest. If I am incarcerated, I would have no
       9 access to an adequate alternative to medical marijuana, and I would suffer
      10 immensely.
      11         4.    In 2003 I was diagnosed with a rare form of muscular dystrophy, for
      12 which there is no prescription medication that will treat my symptoms. Medical
      13 marijuana is the only substance that provides me with the relief that allows me to
      14 live a productive life.
      15         5.    I have been forced to purchase marijuana on the illicit market due to the
      16 low availability and legality from the time I was diagnosed with my disease.
      17         6.    I cannot travel freely because of my fear that I will be caught with my
      18 medical marijuana.
      19         7.    In addition to being a medical marijuana patient, I have been a medical
      20 marijuana caregiver. In 2007, when the DEA tried to force the state of Colorado to
      21 limit extended plant counts, my patients and I were terrified that this would
      22 negatively impact our lives.
      23         8.    The relationship between my doctor and I should be completely private,
      24 and the federal government is trespassing on doctor/patient relationships and
      25 privileges by continuing to list marijuana as a schedule I substance.
      26         9.    The fact that I am in such fear that I cannot reveal my identity for the
      27 purposes of this hearing is dehumanizing and it is a real and tangible injury.
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                              EXPERT WITNESS DECLARATION OF ANONYMOUS




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       1        10.     I will provide relevant written testimony on the value that medical
       2 marijuana has to me and to others like me. I will also provide further information on
       3 how marijuana's status as a schedule I substance has negatively impacted my life
       4 and the ways in which my life will be improved if marijuana is either rescheduled or
       5 descheduled.
       6        11.     No other party to these proceedings will adequately represent my
       7 viewpoints.
       8        12.     My participation will not unduly broaden the issues considered or
       9 obstruct or overburden the proceedings.
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      11        I declare that the foregoing is true and correct.
      12        Executed September 27, 2024.
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                              EXPERT WITNESS DECLARATION OF ANONYMOUS




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                       Declaration of
                       Anonytnous 2




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       1 Drug Enforcement Administration
         Attn: Hearing Clerk/OALJ
       2 8701 Morrissette Drive
         Springfield, VA 22152
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           In the matter of the Rescheduling
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           of Marijuana, 89 Fed. Reg. 44,597          FACTUAL WITNESS
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           Docket No. DEA-1362                                  #2
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                            EXPERT WITNESS DECLARATION OF ANONYMOUS #2




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       1                  EXPERT WITNESS DECLARATION OF ANONYMOUS #2

       2             I, ANONYMOUS #2, declare as follows:

       3             1.    I have personal knowledge of the facts set forth herein, and if called as a

       4 witness, I can, and will, provide written testimony to the matters stated herein.

       5             2.    I am a medical marijuana patient and have worked for marijuana

       6 businesses; and I have been severely harmed by marijuana's status as a schedule I

       7 substance because of both of those statuses.

       8             3.    I qualify as a medical marijuana patient due to my diagnosis of Complex

       9 PTSD.

      10             4.    I have been denied employment by RTD Denver, government agency,

      11 after having been headhunted, signing an employment agreement, and after

      12 completing a weeks-long onboarding process because of my status as a medical

      13 marijuana patient. The onboarding process occurred subsequent to my disclosure of

      14 my status as a medical marijuana patient and subsequent to lengthy discussions

      15 with the employer about the skills I have gained while working for marijuana

      16 businesses. Because of this, I lost an opportunity for a substantial increase in salary.

      17             5.    I have received a letter from a potential employer, after having disclosed

      18 my status as a medical marijuana patient, that served as a referral notice to a

      19 substance abuse counselor. It stated that I either had a verified positive test result or

      20 refused the test and that resulted in immediate removal from my position. It

      21 concluded that if I were to apply to RTD again in the future, I'd need to provide

      22 evidence that I completed a rehabilitation program and followed the

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                                EXPERT WITNESS DECLARATION OF ANONYMOUS #2




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       1 recommendations of a substance abuse counselor. This was dehumanizing; I am a

       2 registered patient and I do not abuse my medication.

       3             6.    I endure fear while traveling, because if I am in a state where my status

       4 as a medical marijuana patient is not recognized, I will not be able to adequately

       5 treat myself when I exhibit symptoms from my PTSD.

       6             7.    The majority of my family lives in Texas and I am unable to work there

       7 due to fear of prosecution; because of this, I am separated from my loved ones on a

       8 regular basis.

       9             8.    I will provide relevant information on the personal and societal harms

      10 caused by marijuana's status as a schedule I substance, and I will explain the value

      11 that rescheduling, or descheduling, will have for medical marijuana patients like

      12 myself.

      13             9.    No other party to these proceedings will adequately represent my

      14 viewpoints.

      15             10.   My participation will not unduly broaden the issues considered or

      16 obstruct or overburden the proceedings.

      17

      18             I declare that the foregoing is true and correct.

      19             Executed September 27, 2024.

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      21                                                   I/All
                                                           ANONYMOUS #2
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                                 EXPERT WITNESS DECLARATION OF ANONYMOUS #2




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                         EXHIBITE
                       Declaration of
                       Anonytnous 3




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       1 Drug Enforcement Administration
         Attn: Hearing Clerk/OALJ
       2 8701 Morrissette Drive
       3 Springfield, VA 22152

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           In the matter of the Rescheduling
       8 of Marijuana, 89 Fed. Reg. 44,597            FACTUAL WITNESS
                                                 DECLARATION OF ANONYMOUS
       9 Docket No. DEA-1362                                #3

      10   Currently scheduled for December
           2, 2024, at 9:00am E.T.
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                            EXPERT WITNESS DECLARATION OF ANONYMOUS #3




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       1             EXPERT WITNESS DECLARATION OF ANONYMOUS #3
       2        I, declare as follows:
       3        1.     I have personal knowledge of the facts set forth herein, and if called as a
       4 witness, I can, and will, competently provide written testimony to the matters stated
       5 herein.
       6        2.     I am co-owner of Anonymous #3.
       7        3.     Anonymous #3 is a privately owned business operating within the state-
       8 legal medical and adult-use Colorado marijuana programs. The company started
       9 providing medical marijuana to patients in 2010, and it continues to do so today.
                4.     Anonymous #3 is subject to the restrictions of 26 U.S.C. § 280E ("280E") .
      11 As such, the immense tax burdens on the company may force the company to shut
      12 down its operations; this would impact a large number of employees and consultants
      13 who rely on the company financially.
      14        5.     I will provide relevant information on the impacts of 280E on state-legal
      15 marijuana businesses and the ability of these businesses to outcompete the illicit
      16 market if marijuana is scheduled outside of schedules I and II.
      17        6.     No other party to these proceedings will adequately represent my
      18 viewpoints.
      19        7.     My participation will not unduly broaden the issues considered or
      20 obstruct or overburden the proceedings.
      21
      22        I declare that the foregoing is true and correct.
      23        Executed September 27, 2024.
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                                                      Anonymous #3
      26
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                            EXPERT WITNESS DECLARATION OF ANONYMOUS #3




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                                                                   September 30, 2024




Subject: Docket No. DEA-1362, Request for Participation

       Dr. Sue Sisley and Scottsdale Research Institute (“SRI”) request to
participate in the hearing in the matter of Schedules of Controlled Substances:
Rescheduling of Marijuana, Docket No. DEA-1362.

   1. Interests.
       Dr. Sisley and SRI are registrants that hold Schedule I licenses to
manufacture and research marijuana. Dr. Sisley and SRI support descheduling, or
in the alternative, rescheduling marijuana. As Schedule I registrants actively
engaged in researching marijuana, including FDA clinical trials, they are interested
in the rule and request the opportunity to provide Dr. Sisley’s testimony to DEA at
the rulemaking hearing to offer a unique and nuanced perspective on the issues.
       As registrants actively engaged in research, Dr. Sisley and SRI have an
interest in rescheduling. Several regulatory requirements applicable to schedule I
and II substances are stricter than those applicable to substances in schedule III,
such as inventory requirements (21 C.F.R. § 1304.11(e)(6)), export requirements
(21 C.F.R. § 1304.11(e)(6)), orders (21 C.F.R. § 1305.04, .21), and drug storage
requirements. The notice of proposed rulemaking expressly acknowledges that
“small entities engaged in research on marijuana” such as SRI “may be subject to
different research protocols set by DEA if the research is conducted on a schedule
III substance rather than a schedule I substance.” Thus, they are interested in
rescheduling insofar as it may remove current restrictions on research.




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                                                                  September 30, 2024


       Although, Dr. Sisley and SRI believe that rescheduling’s impact would
alleviate some of the above burdens, they also believe that impact on research is
overstated. In their experience, over the past several years, marijuana’s Schedule
I status has not meaningfully impeded scientific and medical research and that
factors unrelated to marijuana’s current schedule present more difficulties. Dr.
Sisley and SRI are interested in making that point of view part of the rulemaking
record.
       Dr. Sisley is also a widely recognized expert and public speaker in marijuana
research and clinical marijuana science and has an interest in providing expert
testimony at the hearing. In particular she will put certain marijuana studies
discussed or cited in the HHS evaluation into context and relate the experience of
veterans she’s worked with and patients she’s observed. In particular, the HHS
report specifically discusses a randomized control trial conducted by Dr. Sisley and
SRI to treat PTSD. As an active practitioner and researcher, Dr. Sisley offers a
unique perspective on whether there is an accepted safety for use of marijuana
under medical supervision.
   2. Objections/issues.
      Sisley and SRI with to be heard on any of the following issues.
      a. Whether and to what extent DEA must impose additional regulatory
         restrictions beyond schedule III to ensure treaty compliance, and if so,
         what those restrictions should be.
      b. Whether DEA can deschedule marijuana.
      c. Whether and to what extent rescheduling will improve research, and
         whether and to what extent marijuana’s current schedule I status in fact
         impairs research.
      d. Whether marijuana’s abuse potential and risks of use are less than
         those of substances in schedules III or IV.

   3. Brief Statement on Issues.
      Dr. Sisley and SRI believe that rescheduling would alleviate certain research
burdens, but that today, the most significant research burdens relate to regulatory
requirements outside of the CSA. In particular, current difficulties with marijuana
research, particularly clinical research, relates to funding issues and FDA
regulatory requirements, not CSA regulatory requirements. As a result,
rescheduling will not improve marijuana research to the extent some have claimed.




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                                                                  September 30, 2024


     Dr. Sisley and SRI believe many regulatory restrictions currently imposed by
DEA to ensure treaty requirements are unnecessary if marijuana is rescheduled to
schedule III and can be eliminated, and that descheduling is possible.
      Dr. Sisley and SRI believe that marijuana’s abuse potential, particularly
when used medically, is less than the abuse potential and risks of use are less
than those of many substances in schedules III or IV.

Notices to be sent pursuant to the proceeding should be addressed to:

Scottsdale Research Institute, LLC
12622 N. 81st St., Scottsdale AZ 85260
Att’n: Dr. Suzanne Sisley
ssisleymd@gmail.com
(480) 326-6023


                                            Respectfully yours,




                                            Suzanne Sisley, MD
                                            Scottsdale Research Institute, LLC




                                                                       App.1426
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                                                                                               136 STATE CAPITOL
                                                                                            DENVER, COLORADO 80203
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 GOVERNOR                                                                                       TEL 303-866- 2471
                                                                                                FAx 303-866-2003


       September 30, 2024

       Drug Enforcement Administration
       Attn: Hearing Clerk/OALJ
       8701 Morrissette Drive
       Springfield, Virginia 22152

       Subject: Notice of Appearance (Docket No. DEA-1362)


       Dear Administrator Milgram,

       The State of Colorado requests to appear in the matter of The Rescheduling of Marijuana, 89
       Fed. Reg. 44,597 (the "Proposed Rule") currently scheduled to take place on December 2, 2024.

       (A) The State of Colorado has standing to participate in this administrative hearing as an
       "interested person" defined under 21 CFR 1300.0l(b). The State is requesting the below listed
       parties participate at the hearing to offer distinct factual evidence and expert opinion regarding
       the rescheduling of marijuana. The State's status as an "interested person" as defined in
       §1300.01, and the status of the representatives requesting to participate in the hearing on behalf
       of Colorado, are detailed further below.

       The State's public officials who have a role in administering, overseeing and advising on the
       success of Colorado's marijuana framework, as well as the people of Colorado, will be adversely
       affected or otherwise aggrieved by the Proposed Rule if marijuana remains a Schedule I
       Controlled Substance.

       Colorado's legal marijuana industry has generated over $16.3 Billion in sales over the past 10
       years and has generated over $2.7 Billion in state tax and fee revenue. This industry has
       contributed to well over 40,000 jobs of just those directly involved in the industry, in addition to
       the tens of thousands of professionals in ancillary industries who support the marijuana industry.
       As this sector continues to grow at a rapid pace, the State is concerned that a federal rescheduling
       determination that lacks important insights and subject matter expertise from Colorado officials
       will introduce significant risks to the State's marijuana framework, the ability to continue to
       effectively carry out regulatory and policy responsibilities on behalf of the State, and the
       programs that marijuana tax revenue has funded to support communities across Colorado.

       (B) Colorado possesses a cadre of subject matter experts who can provide unique insight related
       to medical marijuana. The State has had a robust medical program for 24+ years with licensed
       healthcare professionals and providers making recommendations to treat symptoms related to
       Autism, Cachexia, Cancer, Glaucoma, HIV/AIDS, Muscle Spasms, PTSD, Seizures, Severe
       Nausea and Chronic/Severe pain and as an option to avoid using opioids. The State leads a
       strong medical program with over 63,000 current registered medical marijuana patients including
       over 22,400 patients who have the qualifying condition of anything for which an opioid may be




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      prescribed. Given the country's opioid epidemic, our evidence of marijuana having medical
      utility and abuse potential far below opioids would inform DEA's process.

      Our data is relevant, unique and, non-duplicative of any other state and our experts are well
      suited to inform the administrative process as the DEA considers the rescheduling of marijuana
      under the Controlled Substances Act.

      The DEA's notice of rulemaking directly referenced Colorado data that our experts are prepared
      to address. Specifically, the notice of proposed rulemaking reference of public health risks
      associated with driving under the influence of marijuana, cited traffic deaths in Colorado. The
      data cited in the notice lacks important context that must be considered in this rulemaking. The
      public officials listed herein as interested parties are prepared to provide the context and
      additional data on traffic safety necessary to inform the rescheduling determination.

      In addition, the State has robust data on youth use, which is directly relevant to DEA's analysis
      regarding abuse potential. Notably, the questions we ask in our Healthy Kids Colorado Survey
      has more specific survey questions related to use and perceptions of use than SAMSHA's
      National Survey on Drug Use and Health and CDC's Youth Risk Behavior Surveillance System.
      Importantly, our data will show that youth use has not increased post legalization. Colorado
      youth continue to use marijuana at lower rates than their peers nationally. While we acknowledge
      harms associated with illicit use, the overwhelming conclusions demonstrate that the legalization
      of marijuana in our state is contributing to decreased youth use, not the opposite.

      (C) Our public officials have significant subject matter expertise regulating the medical and
      adult-use markets over the past decade and are prepared to testify regarding data attributable to
      medical use in treatment in the United States and relative abuse potential of marijuana. Our State
      is particularly well situated to provide this insight as we are one of the first states to legalize and
      regulate medical marijuana and the first to legalize adult-use.

      For more than 10 years, our Senior Director of Enforcement at the Marijuana Enforcement
      Division (MED), Dominique Mendiola, has served as a regulator for the MED. Mendiola is also
      the current President of the Cannabis Regulators Association (CANNRA), a national association
      of agencies responsible for regulating cannabis and cannabinoids. She has a perspective that is
      relevant and distinct from other state regulators. Other states have and continue to look at
      Colorado as a role model for what their state can do to protect public health. A federal
      rescheduling consideration that lacks clear guidance on how priorities and roles will change
      presents uncertainties and risks that can compromise the diligent efforts she and her MED team
      have made on behalf of the State.

      Ean Seeb is our Governor's Special Advisor on Cannabis and Natural Medicine. He brings
      unique insights having been both an early industry operator in Medical and Adult-Use marijuana
      and has been part of our senior policy team for over half a decade, during which time the State
      has evolved on dozens of marijuana laws and regulations. As an advisor and partner to agencies
      charged with administering the State's marijuana program, a federal rescheduling consideration
      that references incomplete Colorado data and that lacks clear guidance on how priorities and
      roles will change under a proposed rescheduling presents similar uncertainties that will impact
      Seeb's ability to most effectively carry out his role on behalf of the State.




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      For the above reasons, the State of Colorado is filing this written request to have the parties
      referenced above participate at the upcoming Administrative Law Hearing scheduled December,
      2nd, 2024. This notice of intention to participate conforms with 21 CFR 1308.44(b), by
      describing (a) the identity and interests of the parties who will participate in the hearing on
      behalf of the State of Colorado; (b) the details of the objections and issues concerning the matters
      to be heard; and (c) the positions of the parties regarding their objections and issues they are
      prepared to speak about in the hearing.

      I look forward to your response, which I'm confident will align with the DOJ's commitment to
      conducting a transparent, balanced, and well-informed proceeding.

      Respectfully,



     ~~
      Jared Polis
      Governor
      State of Colorado

      All notices to be sent pursuant to this hearing should be addressed to the addresses listed below:

      Governor Jared Polis
      Colorado State Capitol
      200 East Colfax Avenue, Room 136
      Denver, CO. 80203
      governorpolis@state.co.us

      Ean Seeb
      Colorado State Capitol
      200 East Colfax Avenue, Room 127
      Denver, CO. 80203
      ean.seeb@state.co.us

      Dominique Mendiola
      1697 Cole Boulevard, #200
      Lakewood, CO. 80401
      dominique.mendiola@state.co. us




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                                              STATE OF NEBRASKA

                              <l&ffire of tbe ~ttornep (!general
                                             2115 STATE CAPITOL BUILDING
                                                LINCOLN, NE 68509-8920
                                                      (402) 471-2682
                                                   TDD (402) 471-2682
                                           FAX {402) 471-3297 or (402) 471-4725




MIKE HILGERS
ATTORN EY GEN E RAL




                                                September 30, 2024

        Hon. Anne Milgram
        Drug Enforcement Administration
        8701 Morrissette Dr.
        Springfield, VA 22152

        Submitted via email (nprm@dea.gov)

                Re:    Notice of Intention to Participate in Hearing on the Proposed Rescheduling
                       of Marijuana, Docket No. DEA–1362

        Dear Administrator Milgram:

                The State of Nebraska files this notice of intention to participate in the upcoming hearing
        regarding the proposed rescheduling of marijuana from Schedule I of the Controlled Substance
        Act (CSA) to Schedule III. See 89 Fed. Reg. 70149 (Aug. 29, 2024); see also 89 Fed. Reg. 44597
        (May 21, 2024). As noted in the Nebraska-led comment on behalf of an 11-State coalition, the
        “harm inflicted by rescheduling will be especially acute in States like Nebraska, where state law
        makes marijuana illegal in all circumstances.” Comment of States of Nebraska et. al. (July 22,
        2024), available at https://perma.cc/PRE9-3FLL (“Nebraska Comment”). That harm means
        Nebraska is “adversely affected or aggrieved by . . . [the] proposed rule.” 21 C.F.R. §1300.01(b).
        Accordingly, Nebraska can properly “file with the [DEA] Administrator a written notice of . . .
        intention to participate,” 21 C.F.R. § 1308.44(b), in the hearing scheduled to commence on
        December 2, 2024. See 89 Fed. Reg. 70149.

                As set forth in the DEA’s notice of hearing, parties seeking to participate in the hearing
        must: (1) state with particularity their interest in the proceeding, (2) state with particularity the
        issues on which they desire to be heard, and (3) briefly state their position on those issues. 89 Fed.
        Reg. at 70149; see also 21 C.F.R. § 1316.48. Nebraska provides the required particularized
        statements below.
                                 Nebraska’s Interest Warranting Participation

               Nebraska is a sovereign State that has enacted and enforces its own laws regulating and
        criminalizing the cultivation, manufacture, possession, sale, and trafficking of various controlled
        substances, including marijuana. See generally Neb. Rev. Stat. §§ 28-401 to 28-456.01 & 28-458




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to 28-478. Under Nebraska law, marijuana is “illegal in all circumstances.” Nebraska Comment at
4; see also 28 Neb. Rev. Stat. §§ 28-405(c)(8), (27)(A). Government entities in Nebraska—both
state and local—“expend significant law enforcement, judicial system, and penal system
resources . . . combat[ing] . . . [the] trafficking and transportation of marijuana” originating in one
of the several States neighboring Nebraska where marijuana is legal at the state level. Id. at 4 n.11
(quoting Nebraska v. Colorado, 577 U.S. 1211, 136 S. Ct. 1034, 1036 (2016) (Thomas, J.,
dissenting from denial of motion for leave to file original jurisdiction complaint)). Because moving
marijuana to Schedule III will “effectively provide the marijuana industry with a substantial tax
cut,” id. at 5, unlocking “billions in tax savings,” id. at 34 n.86, rescheduling will allow the existing
marijuana industry to “significantly expand their operations,” id. at 36. Thus, rescheduling
marijuana will “supercharge the marijuana industry,” id., sending a “tidal wave of” marijuana
“flooding into Nebraska,” id. at 40.

        This influx of marijuana will increase the many costs to and expenditures by Nebraska’s
law enforcement agencies, its judiciary, and its penal system directly related to or arising from
marijuana. It will also exacerbate the numerous negative externalities that accompany increased
marijuana consumption, externalities that harm Nebraska’s public health, safety, and general
welfare. See id. at 37–40. These externalities include rising rates of homelessness and crime, id.,
increases in the number and severity of motor vehicle accidents, id. at 28–29, and a myriad of
deleterious impacts on the health of Nebraska’s citizens—impacts that are especially pronounced
in children and adolescents, id. at 29–33.

         Simply put, rescheduling marijuana would adversely affect Nebraska. Nebraska has an
interest in facilitating factual development that could forestall the regulatory action that would lead
to such harm. To the extent there is any question about the magnitude of harm rescheduling would
inflict on Nebraska, participation at the hearing would also facilitate factual development regarding
both the nature and extent of its negative impact.

                             Issues on Which Nebraska Desires to
                            Be Heard and its Position on those Issues

       The full breadth of Nebraska’s legal objections (and related argument) regarding the
propriety of the proposed rescheduling are set forth in its previously filed comment. See generally
Nebraska Comment. Nebraska understands that the purpose of the hearing is factual development.
See 21 C.F.R. § 1308.42. Indeed, the Notice of Proposed Rulemaking (NPRM) repeatedly noted
the need for “additional information” and “expert opinion” on a variety of pertinent factual
questions. See, e.g., 89 Fed. Reg at 44601, 44610, 44613, 44615, 44622. In addition to the various
subjects identified in the NPRM, Nebraska intends to provide evidence on factual matters
including, but not limited to, the following:

       1.     Marijuana’s actual or relative potential for abuse – The NPRM, relying on the
recommendation of the Department of Health and Human Services (DHHS), suggests that
“marijuana has a potential for abuse less than the drugs or other substances in schedules I and II.”
89 Fed. Reg. at 44616. As outlined in its comment, Nebraska disagrees. See Nebraska Comment
at 20–23. Nebraska intends to proffer evidence, likely including expert opinion testimony, tending




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to show that marijuana has a high potential for abuse. Id. Such evidence would support marijuana’s
continued placement on CSA Schedule I.

         2.     Whether marijuana has a “currently accepted medical use” (CAMU) – Nebraska
believes the NPRM incorrectly abandoned the prevailing five-part test for determining if a
substance has a CAMU. See Fed. Reg. 44616–17; see also Nebraska Comment at 23–27. That
said, assuming the NPRM’s proposed alternative two-part test is adopted, Nebraska intends to
offer evidence suggesting that there exists no CAMU for marijuana. This includes evidence that
illustrates both the absence of an accepted threshold for safely using marijuana under medical
supervision and the practical impossibility for setting such a threshold given the wide variety in
marijuana strains and cultivars that precludes the ready prescription of a “consistent and
predictable dose.” See Nebraska Comment at 27. Nebraska also intends to offer evidence tending
to show that the CAMU for marijuana purportedly found by HHS fails to satisfy even its newly
relaxed two-part standard. See id. at 25–26. Such evidence would support marijuana’s continued
placement on Schedule I.

        3.       The 811(c) factors, especially marijuana’s effect on the public health and the
impact of increased marijuana consumption on public safety and welfare – When deciding on
which schedule a drug or other substance belongs, the CSA requires consideration of eight factors.
21 U.S.C. § 811(c). Those factors include the “state of current scientific knowledge regarding the
drug or other substance,” “[i]ts history and current pattern of abuse,” “[t]he scope, duration, and
significance of abuse,” and “[w]hat, if any, risk there is to the public health.” Id. Nebraska intends
to offer scientific evidence that reinforces the notion, discussed at length in its comment, that the
current state of scientific knowledge regarding marijuana has not substantially changed since 2016,
when the prospect of rescheduling marijuana was last contemplated (and rejected). See Nebraska
Comment at 8–9, 19–23. Nebraska also intends to offer additional factual evidence, likely
including expert opinion, tending to show that marijuana consumption has a serious negative
impact on the public health. See id. at 28–33. Similar testimony would show, despite HHS’s
suggestion to the contrary, that marijuana’s pattern of abuse resembles that of other Schedule I
substances. Id. 20–23. Finally, Nebraska intends to offer evidence that tends to show that increased
marijuana consumption creates negative externalities and “second order effects”—such as
increased crime and homelessness, reduced workplace productivity, and the facilitation of the
consumption of other “harder” drugs—that threaten not only the public health but also public
safety and general wellbeing. See id. at 33–34, 37–40. This evidence, collectively, counsels against
moving marijuana to Schedule III.
                                            Conclusion

       Nebraska’s request to participate in the hearing should be granted. All notices concerning
the hearing should be addressed to:

Zachary Viglianco
Nebraska Department of Justice
2115 State Capitol
Lincoln, NE 68509
zachary.viglianco@nebraska.gov




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                                              Respectfully submitted,




                                              Michael T. Hilgers
                                              Attorney General of Nebraska




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   [.)~~ Americans for
   •     Safe Access
     “Docket No. DEA-1362”
     9/30/24

     Drug Enforcement Administration, Attn: Hearing Clerk/OALJ

     Subject: Notice of Appearance

     Dear Sir:

     Please note that Steph Sherer would like to appear in the matter of Docket No. DEA-1362.

     I am the founder and President of Americans for Safe Access Foundation (ASA), a nonprofit organization
     founded in 2002 with the mission of ensuring safe access to medical cannabis for therapeutic use and
     research. Over the last 22 years, ASA has utilized a variety of tactics, including legislation, education,
     litigation, research, grassroots empowerment, advocacy, and services for medical cannabis stakeholders
     to meet the immediate needs of patients while clearing the way for a national medical cannabis
     program. ASA coordinates stakeholders behind patient-centric strategies to address knowledge, policy,
     and regulatory gaps needed to integrate cannabis and cannabinoid medicines into U.S. healthcare.

    ASA’s members include medical cannabis patients in all 50 states. In 2012, the Federal Appeals Court for
    the DC Circuit heard oral arguments for Americans for Safe Access v. Drug Enforcement Administration, a
    lawsuit challenging the classification of marijuana as a dangerous drug with no medical value. In
    December 2016, ASA filed a “Request for Correction of Information Disseminated by DEA Regarding
    Marijuana (Cannabis) “ utilizing the regulations of the Information Quality Act Request for Correction that
    resulted in the DEA removing incorrect information from their website. The request was based on
    contradictions to DEA’s “The Dangers and Consequences ) of Marijuana Abuse” and “Drugs of Abuse” and
    information provided by “DEA’s Denial of Petition to Initiate Proceedings to Reschedule Marijuana”
    including claims that cannabis was a gateway drug, caused irreversible cognitive decline in adults, and
    contributed to psychosis and lung cancer.

    ASA also provided guidance documents to the Food and Drug Administration (FDA) for the current
    rescheduling process and data that was used for the new approach to CAMU (memo can be found here)

     (B)

     DEA questions to the Justice Department’s Office of Legal Counsel (OLC) suggest an objection to HHS’
     approach to 21 U.S.C. 811(c) and skepticism that their concerns raised throughout the DOJ’s notice of
     proposed rulemaking document will be addressed during the public comment process or an
     administrative hearing. Furthermore, many of DEA’s comments reference data in HHS’ 2015 “Basis for
     the Recommendation for Maintaining Marijuana in Schedule I of the Controlled Substances Act” and
     DEA’s 2016 “Denial of Petition to Initiate Proceedings to Reschedule Marijuana.6” While Schedule III
     may seem like a significant deviation from the recommendations provided in these documents, it is our
     hope that the DEA considers the enormity of the scientific and medical discoveries that have
     happened in the time since they were issued, as well as the vast societal need for an updated approach
     to cannabis policy as they make their determination. On behalf of our members, we would like to bring
     this date before the OAJL.

 Headquarters:
                                                                                                   (t   BBB 929 4367
 1629 K Street Northwest Su ite 300                      1                                         O focebook.com/safeaccessnow
 Washington, DC 20006-1631                                                                         O @SafeAccess
 amerlc:GI~                                                                                        Ci @americansforsofeoccess




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   [.)~~ Americans for
   •     Safe Access

     (C) Steph Sherer is founder and President of Americans for Safe Access (ASA), the largest national
     member-based organization of patients, medical professionals, scientists, and concerned citizens
     promoting safe and legal access to cannabis for therapeutic use and research.

     Her direct experience with the medical benefits of cannabis and her political organizing background led
     Steph to form ASA in 2002 with the purpose of building a strong grassroots movement to protect
     patients and their rights. As a powerful advocate, a skilled spokesperson, and an energetic initiator of
     campaigns, Steph has trained over 100,000 individuals across the country on civic engagement.

     Steph has become the foremost international leader and expert on medical cannabis patient advocacy
     and, alongside the American Herbal Products Association (AHPA), has created the first industry standards
     in the areas of distribution, cultivation, analytics, and manufacturing, packaging, and labeling.



     All notices to be sent pursuant to this appearance should be addressed to:

     Steph Sherer

     1629 K Street NW, Suite 300,

     Washington, DC, 20006-1631

     Respectfully yours,




 Headquarters:
                                                                                                  (t   BBB 929 4367
 1629 K Street Northwest Su ite 300                      2                                        O focebook.com/safeaccessnow
 Washington, DC 20006-1631                                                                        O @SafeAccess
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September 30 2024
Attn: Administrator
8701 Morrissette Drive, Springfield, VA 22152

Dear Administrator,

Please take notice that I, Stephen JMandile will appear in the matter of: Drug Enforcement
Administration hearing with respect to the proposed rescheduling of marijuana into schedule III of the
Controlled Substances Act. Docket No. DEA-1362

(A) (State with particularity the interest of the person in the proceeding.).

My name is Stephen Mandile. I am a US Army Veteran, with a 100% service connected disability rating
from injuries I sustained in 2005 while serving in Operation Iraqi Freedom III, in Iraq. Along with
many other Veterans enrolled in the Dept. of Veterans Affairs health care I was prescribed many toxic
medications. From 2005 - 2015 I had been prescribed 9 different opioids, with the last 6 years being
prescribed fentanyl and oxycodone. My addiction lead to a failed suicide attempt. In 2015 I made the
switch from those medications to using medical marijuana and I am a registered patient in the
Massachusetts medical marijuana program.

(B) (State with particularity the objections or issues, if any, concerning which the person desires to be
heard.).

 Due to the federal prohibition of cannabis, when I made the switch from opioids to cannabis I went
from not having to pay for any of my pain medications to having to pay hundreds of dollars a week.
Also, while I could travel all across the United States with my VA prescribed narcotics, it is illegal for
me to cross state lines or get on an airplane with my medical cannabis.

(C) (State briefly the position of the person with regard to the particular objections or issues.).

Marijuana has many medical uses which myself and countless other Veterans benefit from, without the
side effects of overdose, coma, respiratory failure, or death. For those reasons marijuan should not be a
schedule 1 substance

All notices to be sent pursuant to this appearance should be addressed to:
Stephen J Mandile
27 Henry Street
Uxbridge, Massachusetts

Respectfully yours

s~9~


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                                                                                  2370 Champlain St NW, Suite 12
                                                                                          Washington, DC 20009
                                                                                                   202-393-5280

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      September 30, 2024

      Drug Enforcement Administration
      Attn: Hearing Clerk/OALJ, Administrator
      8701 Morrissette Drive,
      Springfield, Virginia 22152

      Subject: Notice of Appearance in Docket No. DEA-1362

      To Whom It May Concern:

      Please take notice that Kat Murti will appear in the matter of Docket No. DEA-1362, on behalf of
      Students for Sensible Drug Policy (SSDP), of which she is Executive Director.

      Interest of the Person in the Proceedings
      Students for Sensible Drug Policy (SSDP) is the largest national youth-led organization that advocates
      for ending the War on Drugs. Our network spans numerous campuses and communities, and we
      represent a broad coalition of students and young people aﬀected by current drug policies.

      Since 1998, SSDP has mobilized tens of thousands of young people to advocate for a more sensible
      approach to drug laws, and our members and alumni have been involved in every major marijuana
      legalization campaign in the past two decades.

      SSDP has a significant interest in this proceeding because the rescheduling or descheduling of
      marijuana impacts the lives of the young people we represent, particularly regarding criminal justice,
      education, and access to marijuana for medical and adult use.

      In April of 2024, our student and youth members helped mobilize the largest bipartisan coalition of
      marijuana advocacy, industry, and grassroots organizations in U.S. history. Our members made
      contact with every single oﬃce in both the Senate and the House of Representatives in support of
      descheduling marijuana, educating elected oﬃcials and their staﬀ about the ways in which the
      criminalization of marijuana negatively impacts our members, including by obstructing our
      members’ ability to obtain employment, education, and housing. Moreover, SSDP members who
      were formerly incarcerated for marijuana oﬀenses spoke at a series of in-person and virtual
      educational events, including a vigil in front of the White House, about the need for descheduling,
      highlighting the lifelong harms that come with criminalization of marijuana as a controlled
      substance, and the inadequacy of recent executive actions intended to remedy that harm.



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      SSDP submitted a public comment on FR Doc # 2024-11137 on July 22, 2024 (DEA-2024-0059-39694)
      urging the Department of Justice end the decades-long War on Marijuana—which we believe to be
      the intent of rescheduling—by completely removing marijuana from the Controlled Substances Act
      (CSA).

      SSDP also submitted a public comment on FR Doc # 2024-11137 on July 22, 2024
      (DEA-2024-0059-41424) as a member of the United for Marijuana Decriminalization (UMD) coalition
      calling on the federal government to end the criminalization of marijuana by descheduling it from
      the Controlled Substances Act, as well as a public comment on FR Doc # 2024-11137 on May 28,
      2024 (DEA-2024-0059-6375) as a member of the Marijuana Justice Coalition (MJC) in the form of a
      letter sent by the MJC to President Biden and Vice President Harris encouraging the descheduling of
      marijuana from the CSA.

      SSDP also helped create, promote, and operate a public comment tool through which 10,327 of the
      total 42,925 public comments on FR Doc # 2024-11137 were submitted, a significant number of
      which were submitted by SSDP members and alumni.

      Objections and Issues to Be Addressed
      While SSDP commends the Department of Justice for taking a much-needed step towards ending
      federal marijuana prohibition and believes Schedule III is much more appropriate than Schedule I,
      rescheduling marijuana as a Schedule III drug simply is not suﬃcient.

      SSDP objects to the limited scope of rescheduling marijuana as a Schedule III controlled substance
      and urges the Department of Justice to remove marijuana from the Controlled Substances Act (CSA)
      entirely (“descheduling”).

      We desire to be heard on the following issues:
         ● Support for marijuana to be removed from Schedule I of the Controlled Substances Act,
             which does not align with marijuana’s relatively low potential for abuse, widely accepted
             medical use, and relative safety of use.
         ● The failure of Schedule III to accomplish the political will of the American people despite the
             large and growing consensus across all demographic segments, geographic regions, and
             political aﬃliations that marijuana prohibition has utterly failed in its stated goals.
         ● The continued criminalization of marijuana possession and use, even under Schedule III,
             which disproportionately aﬀects young people and marginalized communities.
         ● The impact on research, public health, and economic opportunities for youth if marijuana
             remains a controlled substance.

      Position Regarding the Objections or Issues
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                                                                                   2370 Champlain St NW, Suite 12
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      As stated in our public comment on FR Doc # 2024-11137 (DEA-2024-0059-39694), SSDP believes
      that rescheduling marijuana to Schedule III is insuﬃcient and does not address the harms caused by
      prohibition, particularly those that most impact the young people we represent.

      While moving marijuana from Schedule I to Schedule III of the Controlled Substances Act (CSA)
      would be an improvement over current policy, it does not accomplish the stated goals of the Biden
      Administration in directing the Department of Health and Human Services (HHS) to conduct a review
      of how marijuana is classified and it will not suﬃciently address the ongoing harms caused by
      marijuana criminalization.

      Our position is that the only eﬀective solution is to fully deschedule marijuana, thereby removing it
      from the CSA.

      This would ensure that young people are not criminalized for marijuana-related activities, facilitate
      many important state functions and allow state-legal industries to flourish without federal
      interference, and pave the way for comprehensive drug reform rooted in justice and public health.

      Conclusion

      SSDP looks forward to the opportunity to participate in this hearing to advocate for a more sensible
      and compassionate approach to drug policy, one that aligns with the will of the American people
      and addresses the ongoing harm caused by marijuana criminalization.

      All notices to be sent pursuant to this appearance should be addressed to:

      Students for Sensible Drug Policy (SSDP)
      ℅ Kat Murti, Executive Director
      1800 M St NW, #33051
      Washington, DC 20036

      Respectfully yours,




      Kat Murti
      Executive Director
      Students for Sensible Drug Policy (SSDP)

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                                                                                        Drug Enforcement Administration,
                                                                                       Attn: Administrator, 8701 Morrissette
                                                                                         Drive, Springfield, Virginia 22152




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USCA Case #24-1365    Document #2100970        Filed: 02/17/2025   Page 83 of 119
September 30, 2024                             T. Christopher Wright
                                               2114 E. 35th St.
                                               Minneapolis, MN 55407
                                               tc_wright38@yahoo.com

Drug Enforcement Administration
Attn: Administrator
8701 Morrissette Drive
Springfield, VA 22152
(571) 362-3249
nprm@dea.gov

RE: Docket No. DEA-1362

Dear Administrator,

In my view as a cannabis legalization activist for over 38-years, while it
is preferable to reschedule cannabis from Schedule I to Schedule III
rather than leave cannabis in Schedule I, cannabis should be more
correctly removed from the CSA completely and added to subtitle E of
the Internal Revenue Code of 1986, like distilled spirits, wine, absinthe,
malt beverages, nicotine, and tobacco or placed in Schedule V of the
CSA.

In 1988, the DEA’s Chief Administrative Law Judge Francis L. Young,
ruled in the Marijuana Rescheduling Petition hearing that, “Marijuana,
in its natural form, is one of the safest therapeutically active substances
known to man.” Therefore, one of the safest therapeutically active
substances known to man should be correctly classified in Schedule V
with the least dangerous substances with known medical uses if left in
the CSA.


Sincerely,




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        T. Christopher Wright




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            ,   .............
                                    TENNESSEE BUREAU OF INVESTIGATION                                                                            ·: hj_~• ,
      i                                            901 R.S. Gass Boulevard                                                                          TBI
                                               Nashville, Tennessee 37216-2639
                                                        (615) 744-4000
                                                    Facsimile (615) 744-4500
          BILL LEE                                    TDD (615) 744-4001                                                                   DAVID B. RAUSCH
           GOVERNOR                                                                                                                               DIRECTOR




      September 30, 2024

      Drug Enforcement Administration
      Attn: Matthew Strait
      8701 Morissette Drive
      Springfield, VA 22152

      Subject: Docket No. DEA-1362

      Dear Mr. Strait:
      I was surprised to receive your September 17, 2024, letter (Letter) asking the Tennessee Bureau
      of Investigation (TBI) to demonstrate that it is an "interested person" and asking TBI to identify
      relevant information that it intends to present at the hearing about the Department of Justice's
      (DOJ) proposed rescheduling of marijuana to Schedule III (Proposed Rule). 89 Fed. Reg. 44,597.
      TBI works directly with DEA in enforcing federal drug laws-its interested party status is facially
      apparent. In addition, the Proposed Rule openly invites "interested persons" to provide evidence
      at the hearing; however, DEA is now requesting to prescreen this evidence when it has failed to
      perform the required eight-factor analysis (8F A). Indeed, when DEA last performed the 8FA in
      2016, it declined to reschedule marijuana, and without a full 8FA for the current hearing, there can
      be no intervening evidence that would change this result.
      Nonetheless, to avoid waiving its ability to present evidence at DEA's hearing on the misguided
      Proposed Rule, TBI provides the following response to your Letter.

      I.                TBI is undisputably an interested party.

      Under 21 C.F.R. § 1300.0l(b), an interested party is any "any person adversely affected or
      aggrieved by" a rule or proposed rule. 1 As Tennessee's lead investigative agency with original
      jurisdiction over drug enforcement and the primary agency for forensic science services for law
      enforcement in the State, TBI is adversely affected by the Proposed Rule.

      The Proposed Rule would adversely affect TB/ operations. TBI' s drug enforcement operations
      are supported by the Tennessee Dangerous Drugs Task Force, which works closely with federal
      agencies (including the DEA) to combat drug crimes across the State. TBI both investigates and
      enforces federal and state drug-related offenses, including marijuana offenses. For example,
      TBI's forensic crime laboratories receive and process more than 30,000 drug submissions
      annually, a significant number of which are marijuana-related. Indeed, TBI is one of few state

      1
          The Proposed Rule is purportedly authorized by 21 U.S.C. § 811. 89 Fed. Reg. 44,622.
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      agencies performing THC quantification in its crime labs. This work is complicated by the
      increasing prevalence of genetically modified and synthetically manipulated marijuana.
      Rescheduling marijuana (making use more widespread) would strain drug-enforcement activities.
      Accordingly, the Proposed Rule would have an immediate and adverse impact on TBI, requiring
      it to spend time and resources reevaluating enforcement priorities, personnel assignments, and
      asset allocation in response to any rescheduling.

      The Proposed Rule would adversely impact TBJ's mission. Additionally, the Proposed Rule
      would impair TBI's mission to ensure the safety and welfare of Tennessee's citizenry and
      residents. Marijuana-related crimes account for at least half of the drug-related crimes in
      Tennessee, including assaults, thefts, burglary, and murder. Furthermore, states with medical and
      recreational marijuana legalization have experienced significant difficulties arising from organized
      crime's exploitation of the marijuana market. These concerns are particularly poignant in
      Tennessee, which plays a crucial role as a hub in the country's transportation and logistics network
      due to its geographic location within the United States.

      Legalization of marijuana in other states has also led to increased marijuana-related incidents
      among juveniles and higher rates of cannabis-related calls to poison control centers. 2 Even without
      rescheduling or legalization, Tennessee has already seen a sharp rise (200+ incidents since 2020)
      in reported non-fatal overdoses and severe adverse medical reactions to cannabis, particularly
      among youth, impacting schools and emergency services. TBI' s experience also supports the
      "gateway hypothesis" that marijuana use, especially among adolescents, may lead to abuse of other
      harmful substances, including opioids. Peer-reviewed research also supports this hypothesis. 3

      Accordingly, the Proposed Rule adversely affects TBI's operations and ability to promote public
      health and safety. TBI is undoubtedly an "interested person" as defined in 21 C.F.R. § 1300.0l(b).

      II.    TBI has material evidence that the Proposed Rule does not address.

      Your Letter also asks TBI to elaborate on the evidence TBI would present at hearing. Because the
      Proposed Rule repeatedly invites additional data on "routes of administration of marijuana and the
      impact on ~9-THC potency," I will focus on that evidence here. 89 Fed. Reg. 44,607; see also id
      at 44,614. For a more thorough list ofTBI's concerns and the evidence underlying them, I would
      refer you to TBI's comment letter ("Comment Letter"). 4

      Marijuana is increasingly offered in various and innocuous forms. As marijuana has become
      increasingly deregulated and legalized by various States, it has also become more available in


      2
        The Legalization of Marijuana in Colorado: The Impact, Volume 8, September 2021, Rocky
      Mountain HIDT A.
      3
        See, e.g., Arthur Robin Williams, Cannabis As A Gateway Drug for Opioid Use Disorder, 48
      J.L. Med. & Ethics 268 (2020); Roberto Secades-Villa et al., Probability and Predictors of the
      Cannabis Gateway Effect: A National Study, 26 Int'l J. Drug Policy 135 (2015).
      4
        Available at https://downloads.regulations.gov/DEA-2024-0059-34513/attachment_1.pdf.




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                                                                                               App.1445
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      forms that are indistinguishable from their non-THC containing equivalents, including vapes and
      edibles. These are often marketed toward young adults and children who are particularly
      vulnerable to overdose due to lower body weight and heightened sensitivity to THC. This risk is
      amplified by the delayed effects of THC edibles, which may mislead the user into concluding the
      initial dose was insufficient. Loosening marijuana regulations will make policing such deceptive
      and dangerous marketing significantly more difficult. The Proposed Rule does not consider the
      dangerous impact of these methods of conveying and administering marijuana.

      Marijuana is increasingly potent. The potency of 1'19-THC in marijuana has skyrocketed in recent
      years, from around 3% in the 80's and 90's to as high as 42% in 2021. Comment Letter at 3. THC
      infused edibles can reach potency levels as high as 98%. Id. The Proposed Rule briefly
      acknowledges that the potency of marijuana has "increased dramatically," 89 Fed. Reg. 44,604,
      but nowhere addresses the impact of such increased potency on users or public health. TBI has
      firsthand information about the prevalence of such high-potency marijuana and its effects.

      III.   DEA should grant TBl's request for hearing.

      In conclusion, TBI is an interested party that can provide additional information that the Proposed
      Rule invites. I anticipate that DEA will grant TBI's request for a public rehearing regarding the
      Proposed Rule.

      Respectfully yours,



      £~
      Director
                                      --
      Cc:    Drug Enforcement Administration
             Attn: Hearing Clerk/OALJ
             8701 Morissette Drive
             Springfield, VA 22512




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            


                  Date:            September 30, 2024
                  To:              Drug Enforcement Administration
                                   8701 Morrissette Drive,
                                   Springfield, VA 22152

                                   Docket No. DEA-1362

                  Attn:            Anne Milgram, Administrator

                  Subject: Request to be heard


                  Dear Administrator Milgram,

                  I am writing to formally express my interest in participating in the upcoming hearing
                  regarding the rescheduling of marijuana in the Controlled Substance Act (CSA). As a Human
                  Resources professional and subject matter expert with 26 years of experience implementing
                  Drug-Free Workplace programs for thousands of employers who are adversely affected by
                  the rescheduling, I can provide valuable insights into the potential implications of this change
                  on workplace safety.

                  While the focus is often on the Department of Transportation (DOT), it is equally important
                  to consider NON-DOT industries that adhere to DOT 49 CFR Part 40 guidelines. The NON-
                  DOT businesses, specifically those in safety-sensitive industries (police, fire, nursing, etc.),
                  will likely be adversely affected in the following manner:
                      1) Increase in workplace injuries and death.
                      2) Legal exposure due to lack of clarity in drug testing regulations and lack of clarity
                          regarding the interactive process under the Americans with Disabilities Act (ADA).

                  The rescheduling of marijuana, while in line with evolving social and medical perspectives,
                  necessitates the establishment of explicit drug testing provisions and impairment protocols.
                  This is to ensure workplace safety and compliance, especially in industries that heavily rely
                  on drug testing guidelines.

                  I urge the Drug Enforcement Agency (DEA) and Department of Justice (DOJ) to collaborate
                 with the U.S. Department of Health and Human Services (HHS) to ensure that testing
                 standards remain in place and reflect the evolving legal landscape. This is not just to protect


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                the workplace but also the general public at large, as any compromise in safety could have
                serious consequences.

                I would like to address the following points:

                     1) Amend E.O. 12564 section 7(c) to grant HHS authority to conduct drug testing for
                        marijuana if moved to a Schedule III drug under the CSA.
                     2) Establish guidelines that eliminate testing for non-psychoactive cannabis metabolites
                        to fill the current gap in testing abilities.
                     3) Define comprehensive guidelines, including protocol for impairment and safety-
                        sensitive provisions, prior to rescheduling.
                     4) Define comprehensive guidelines for the interactive process under the Americans
                        with Disabilities Act (ADA)
                     5) Authorize employers to take adverse actions against employees who are impaired in
                        the workplace.

                By adopting these measures, the DEA can protect workplace safety while respecting the
                medical use of marijuana. It is crucial to strike a balance that prioritizes safety and provides
                clear guidelines for employers to manage impairment issues.

                I appreciate your consideration of my request to participate in these discussions. It is
                essential to ensure that the transition to a Schedule III classification does not undermine
                employers' ability to enforce drug-free workplace policies or compromise safety standards.

                Thank you for your attention to this critical issue. I look forward to your response and the
                opportunity to provide further input on behalf of employers and safety professionals
                nationwide.

                Best Regards, Dyann



                Dyann McDowell, President, HR Business Partner and Trainer
                Training Marbles. Inc.

                Phone: (844)362-7253 ext. 1
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      QKJIQJM54]JHHJI](5IQ5].II.0=Q]'56JMH]6JM],5R5M.IQ](H.EE]VQ=I5QQ5Q].I4]#54=2.E]
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                                                                                             United
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                                                                                             Cannabis
                                                                                             Coalition

       legitimate, safe cannabis industry. It would also end the racially disparate enforcement and
       criminalization that has defined the failed "War on Drugs."

         I believe a comprehensive and evidence-based review by the DEA will support the case for full
       de-scheduling. For this reason, I am formally requesting an in-person meeting to discuss this
       matter further, as well as a public hearing where medical experts, patients, and other stakeholders
       can provide testimony on this important issue.

        The health, well-being, and rights of the American people are at stake. I look forward to
      working constructively with the DEA to establish a more sensible path forward for cannabis
      policy. Please let me know how I can assist in facilitating this process.

        Thank you for your attention to this critical issue.



      Sincerely,

      Patrick Hiram Moore

       ~//.~
      Director, United States Cannabis Coalition

      usacannabiscoalition@gmail.com

      831-229-0399




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                                    SUHVHQWIRUFRQVLGHUDWLRQLQWKHUHVFKHGXOLQJKHDULQJ6XSSRUWIRU9LOODJH)DUP¶V
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                                    ZKHWKHUPDULMXDQDVKRXOGEHWUDQVIHUUHGWRVFKHGXOH,,,RIWKHOLVWRIFRQWUROOHG
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                                     See Schedules of Controlled Substances: Rescheduling Marijuana)HG5HJ
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                                     $XJXVW  ³1RWLFHRI+HDULQJ´ 
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       y     The Actual or Relative Potential for Abuse is Lower than that of Comparator Substances.
              7KURXJK9LOODJH)DUPV¶H[WHQVLYHUHVHDUFKFRQGXFWHGXQGHULWV&DQDGLDQVXEVLGLDU\LWKDVEHHQ
              DEOHWRFRPSLOHVXEVWDQWLDOHYLGHQFHGHPRQVWUDWLQJWKDWPDULMXDQD¶VDFWXDORUUHODWLYHSRWHQWLDOIRU
              DEXVHLVPXFKORZHUWKDQWKDWRIWKHFRPSDUDWRUVXEVWDQFHVVXFKDVKHURLQ VFKHGXOH, RUFRFDLQH
              DQGIHQWDQ\O VFKHGXOH,, %HFDXVH9LOODJH)DUPVKDVEHHQDEOHWRFRQGXFWH[WHQVLYHUHVHDUFK
              DORQJVLGHOHDGLQJ&DQDGLDQUHVHDUFKHUV²XVLQJLWVRZQSURGXFWLRQVWUDLQVZKLFKKDYHHQWHUHGWKH
              &DQDGLDQPDUNHW²WKHHYLGHQFH9LOODJH)DUPVSRVVHVVRQWKLVSRLQWLVXQOLNHO\WREHGXSOLFDWLYHRI
              WKDWRIRWKHUSDUWLFLSDQWV6LPLODUO\WKLVHYLGHQFHZLOOEHXVHIXOLQWKH$/-¶VDQDO\VLVRIWKHVHYHQWK
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       y     Scientific Evidence of Marijuana’s Pharmacological Effect. 7KURXJK WKH VDPH VWXGLHV
              9LOODJH)DUPVKDVEHHQDEOHWRJDWKHUHYLGHQFHRIPDULMXDQD¶VSKDUPDFRORJLFDOHIIHFWVDVWRERWK
              PHGLFLQDODQGDVDUHFUHDWLRQDOXVHV9LOODJH)DUPV¶&DQDGLDQVXEVLGLDU\KDVEHHQDEOHWRSURGXFH
              DQG UHVHDUFK LWV RZQ VWUDLQV DQG WKH LPSDFW FDXVHG E\ ZLGHVSUHDG XVH RI WKH LWV SURGXFW
              &RQVHTXHQWO\ 9LOODJH )DUPV¶ UHVHDUFK LV SUHFLVH WR D PHDVXUH XQSDUDOOHOHG E\ 86EDVHG
              UHVHDUFKHUVZKRPXQWLOUHFHQWO\KDYHRQO\EHHQDEOHWRREWDLQVXSSO\GLVWULEXWHGE\WKH1DWLRQDO
              ,QVWLWXWH RQ 'UXJ $EXVH ZKLFK RIWHQ GLVWULEXWHV VWUDLQV QRW LQ JHQHUDO XVH DQG WKDW FRQWDLQV
              FRQWDPLQDQWV

       y     The State of Current Scientific Knowledge. 7KURXJK LWV H[WHQVLYH FOLQLFDO UHVHDUFK 9LOODJH
              )DUPVLVDEOHWRSURYLGHLQWHUQDWLRQDOLQVLJKWWKDW86EDVHGSDUWLFLSDQWVFDQQRWSURYLGHGXHWRWKH
              FXUUHQW UHVWULFWLRQV RQ WKH SURGXFWLRQ GLVWULEXWLRQ DQG UHVHDUFK RI PDULMXDQD 1RWDEO\ 9LOODJH
              )DUPVKDVH[WHQVLYHNQRZOHGJHRIWKHOHDGLQJVFLHQWLILFSUDFWLFHVFXUUHQWO\XWLOL]HGLQWHUQDWLRQDOO\
              LQWKHFXOWLYDWLRQDQGUHVHDUFKRIERWKPHGLFLQDODQGUHFUHDWLRQDOPDULMXDQD

       y     Risk to Public Health. 7KURXJK LWV H[WHQVLYH UHVHDUFK DQG LWV H[SHULHQFH SURGXFLQJ DQG
              GLVWULEXWLQJPDULMXDQDIRUPHGLFLQDODQGUHFUHDWLRQDOSXUSRVHV9LOODJH)DUPVLVXQLTXHO\SRLVHGWR
              RIIHUHYLGHQFHDVWRWKHORZULVNPDULMXDQDSRVHVWRSXEOLFKHDOWK,QIDFWEHFDXVHRIWKHFXUUHQW
              UHJXODWRU\ODQGVFDSHLQWKH8QLWHG6WDWHV9LOODJH)DUPVPD\EHWKHRQO\HQWLW\WKDWFDQSUHVHQW
              HYLGHQFHFRQFHUQLQJZLGHVSUHDGXVHRIPDULMXDQDSURGXFWVDQGSXEOLFKHDOWK

 1RWRQO\GRHV9LOODJH)DUPVLQWHQGWRSURGXFHWKHHYLGHQFHGHVFULEHGDERYHLQVXSSRUWRILWVSRVLWLRQWKDW
 PDULMXDQDGRHVQRW EHORQJLQVFKHGXOHV, RU,,EXWWKLVUXOHPDNLQJDOVRGLUHFWO\ LPSDFWV9LOODJH)DUPV¶
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    •    Outlook


   [EXTERNAL] RE: DEA Hearing Request

    From Walt Sanders <wsanders99@earthlink.net>
    Date Tue 10/8/2024 10:45 AM
    To   NPRM <NPRM@dea.gov>
    Cc   Richard Brumfield <richard.brumfield@gmail.com>; Greg Davenport <gdavenport@fullspectrumomega.us>;
         Guillermo Avina <gavina@fullspectrumomega.us>; David Serrano <drsmjrx@gmail.com>; John Frazier Glenn
         <jfg1enn7997@comcast.net>; wsanders99@earthlink.com <wsanders99@earthlink.com>


   Good Morning DEA Hearing officer,

   Could you please inform our group of the current process and procedure for the DEA hearing on rescheduling on
   marijuana scheduled for December 2? Did you receive our request and when will the decision be made on the
   selection of witnesses who are approved to appear a the hearingaaaaaaaa/

   Walt A. Sanders
   President & CEO
   Sanders International Group, LLC
   5008 Dodson Drive
   Annandale, VA 22003
   (703)728-2431
   wsanders99@earthlink.net


   From: Walt Sanders [mailto:wsanders99@earthlink.net]
   Sent: Thursday, September 26, 2024 3:53 PM
   To: 'nprm@dea.gov' <nprm@dea.gov>
   Cc: Richard Brumfield (richard.brumfield@gmail.com) <richard.brumfield@gmail.com>; Greg Davenport
   (gdavenport@fullspectrumomega .us) <gdavenport@fullspectrumomega.us>; Guillermo Avina
   (gavina@fullspectrumomega.us) <gavina@fullspectrumomega.us>; David Serrano <drsmjrx@gmail.com>; John
   Frazier Glenn (jfglenn7997@comcast.net) <jfglenn7997@comcast.net>; 'wsanders99@earthlink.com'
   <wsanders99@earthlink.com>
   Subject: DEA Hearing Request

   Dear DE A Hearing Officer,


   Re: Docket No. DEA-1362

   Attached is a request by Full Spectrum Inc. (FSO) to appear at the hearing in the matter of "whether marijuana
   should be transferred to Schedule Ill of the list of controlled substance 21 CFR 1308.42 on December 2, 2024 at 9
   am at 700 Army Navy Drive, Arlington VA 22202.

   Please let us know as soon as possible if our request is approved.

   Walt A. Sanders
   President & CEO
   Sanders International Group, LLC
   5008 Dodson Drive




                                                                                                     App.1458
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Annandale, VA 22003
(703)728-2431
wsanders99@earthlink.net


From: jfglenn7997@comcast.net [mailto:jfglenn7997@comcast.net]
Sent: Thursday, September 26, 2024 12:51 PM
To: Walt Sanders <wsanders99@earthlink.net>
Cc: Richard Brumfield <rbrumfield@fullsRectrumomega.us>; Guillermo Avina <gavina@fullsRectrumomega.us>;
Gregory Davenport <gdavenRort@fullsRectrumomega.us>
Subject: Final approved DEA Hearing Request

Walt,

Please submit the attached per the instructions provided in the announcement.

Confirm when complete.

Thanks!

Best,
Frazier




                                                                                       App.1459
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     •   Outlook


    FW: Docket No. DEA-1362

    From NPRM <NPRM@dea.gov>
    Date Wed 10/9/2024 12:36 PM
    To   Riggs, Jessica M <Jessica.M.Riggs@dea.gov>




    From: Jeffrey Faatz <jeff.faatz@gcpclinicalconsultants.com>
    Sent: Monday, September 30, 2024 7:44 PM
    To: NPRM <NPRM@dea.gov>
    Subject: [EXTERNAL] Docket No. DEA-1362

    To whom it may concern:



    I would like to participate in this hearing, which is scheduled to occur on December 2, 2024, at 9 a.m.
    ET at 700 Army Navy Drive, Arlington, VA 22202.

    I would like to give firsthand testimony on the detrimental effects of modern marijuana, particularly
    the high concentration liquid and wax formulations. The potency of modern marijuana destroys lives
    and families, and it should not be rescheduled unless, and until, randomized, controlled clinical trials
    demonstrate safety and efficacy for certain indications in certain populations.

    I look forward to attending the hearing.

    Sincerely,

    Jeffrey A. Faatz
    President & Principal Consultant

    ~ Image
    Market Street in The Woodlands
    9595 Six Pines Drive, STE 8210
    The Woodlands, TX 77380-1586

    E: jeff. faatz@gcpclinicalconsultants.com
    P: +1-936-230-0046
    M: +1-919-423-5730




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         In Matter Of: Schedules of Controlled
         Substances: Rescheduling of Marijuana.                              Docket No. DEA-1362

         21 CFR, Part 1308.


         To:

         Agency: Drug Enforcement Administration, Attn: Administrator

         8701 Morrissette Drive, Springfield, Virginia 22152.

         Action: Notice of the Proposed Rulemaking, Notice of Appearance




                                               SUMMARY
         The Department of Justice ("DOJ") proposes to transfer marijuana from schedule I of the
         Controlled Substances Act ("CSA") to schedule Ill of the CSA, consistent with the view of
         the Department of Health and Human Services ("HHS") that marijuana has a currently
         accepted medical use as well as HHS's views about marijuana's abuse potential and level of
         physical or psychological dependence. The CSA requires that such actions be made through
         formal rulemaking on the record after an opportunity for a hearing




                                                  ISSUE
         The Honorable Anne Milgram

         Dear Administrator,

         The undersigned Mr. John Jones hereby requests the assistance in the in-person hearing in the
         matter of: Notice of the Proposed Rulemaking in conformity with the requirements of 21
         CFR, Part 1308 and 21 CFR Subpart D, § 1316.48.

         On behalf of Cannabis Bioscience International Holdings (CBIH), we are writing to express
         our full support for the Department of Justice (DOJ) proposal to reclassify marijuana from
         Schedule I to Schedule Ill of the Controlled Substances Act (CSA). We align with the
         Department of Health and Human Services (HHS) in recognizing marijuana's accepted
         medical uses. We are committed to collaborate in order to endorse this proposal and
         participate in the in-person hearing.

         As a company dedicated to developing medically significant formulations based on
         cannabinoids for treating prevalent diseases, we are keenly aware of the robust scientific




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         evidence supporting the therapeutic potential of cannabis-derived compounds. These
         compounds have demonstrated effectiveness across various conditions such as cancer,
         epilepsy, neurodegenerative diseases, osteoarthritis, psychological disorders, glaucoma, and
         metabolic syndromes. The benefits of these treatments are backed by numerous clinical
         studies and patient experiences, where cannabis has proven to be a safe and effective
         therapeutic option, significantly enhancing quality of life and well-being. We strongly
         advocate for the clinical, medical, and pharmacological importance of marijuana in
         advancing safe and effective treatments for diseases that impact the population.

         We are keen to participate in this hearing to present scientific studies and clinical trials
         validating the therapeutic benefits and pharmacological potential of natural compounds
         derived from Cannabis sativa L., or marijuana. Despite historical stigma and barriers to
         medical use, our goal is to demonstrate how these compounds effectively treat various
         conditions. We support the embracing and exploration of marijuana's medical applications,
         backed by substantial research, to broaden treatment options and improve patient outcomes.

         Cannabis differs significantly from highly addictive opioids like morphine, oxycodone, and
         fentanyl, which have caused widespread dependency and a public health crisis despite their
         effectiveness in pain management. In contrast, cannabis use generally leads to minor side
         effects such as slight dizziness or mild euphoria, making it a safer therapeutic option.
         Medically supervised cannabinoid use provides an effective alternative for pain management
         and other medical conditions without the substantial addiction risks associated with opioids.

         It is important for public health policies to reflect this distinction and support rescheduling
         cannabis to a level that allows for broader medical use and research.               •

         Moreover, cancer represents a significant global health challenge, ranking as the second.
         leading cause of death worldwide with millions of lives lost annually. It affects individuals
         across all demographics and regions, imposing a substantial health burden that requires
         continual advancements in prevention, diagnosis, and treatment strategies. Efforts to improve
         early detection methods and develop effective therapies are critical in combating this
         pervasive disease.

         Cannabinoids show promising anticancer effects in breast, pancreatic, prostate, lung, and
         liver cancers. They inhibit tumor growth and metastasis by reducing cell proliferation,
         inducing apoptosis, and enhancing chemotherapy efficacy. These actions are mediated
         through interactions with the endocannabinoid system, suggesting cannabinoids as valuable
         in cancer treatment.

         Furthermore, cannabinoids in cancer treatment provide a unique advantage by protecting
         healthy cells compared to traditional chemotherapy and other drugs. Unlike conventional
         treatments that often harm healthy tissues along with cancer cells, cannabinoids have
         demonstrated a preference for targeting cancer cells while leaving normal cells relatively
         untouched. This selective action underscores the importance of ongoing research to develop
         safer and more effective cannabinoid-based treatments for cancer and other diseases.




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         Additionally, further clinical studies are essential to fully grasp the therapeutic potential of
         cannabinoids across various diseases. However, preliminary research and anecdotal evidence
         indicate promising avenues for exploration. Incorporating cannabinoids into treatment
         strategies for diverse conditions could introduce novel therapeutic options aimed at
         alleviating symptoms and potentially halting disease progression.

         Rescheduling marijuana to Schedule Ill will not only facilitate scientific research and the ·
         development of new medical treatments, but it will also contribute to a more effective and
         safer regulation of its medical use, benefiting patients and healthcare professionals.

         Thank you for your attention, and we remain at your disposal for any further inquiries.



                                               Respectfully yours,




                                                  John Jones
                                             Treasurer and Director
                                                     CBIH




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      Equity Trade Network
      2261 Market St. #4
      San Francisco, CA 94114

      Drugs Enforcement Administration
      Attention: Administrator
      8701 Morrissette Drive
      Springfield, Virginia 22152

      Subject: Request for Public Hearing on Docket No. DEA-1362

      To Whom it May Concern,

      We are writing to formally submit a request for public hearing. As we read the proposed
      rulemaking in Docket No. DEA 1362 Sect.X.5, it was clear that there was a lack of
      understanding and a desire for testimony from small businesses in the cannabis industry and
      how these rules would impact our businesses.

      The Equity Trade Network is a small business ecosystem of over 40 businesses owned and
      operated by Black, Brown, Indigenous, LGBTQ, Veteran or system-impacted people
      from all over the United States of America. Many of us have transitioned from the
      non-regulated into Equity Programs and have struggled to stay afloat and keep up with
      heavily regulated, and often very complicated, state frameworks.

      We have had to organize because the intention of social equity and economic opportunity has
      not come to fruition. The aforementioned regulations have created such a hostile landscape for
      small businesses to be able to gain a stable footing. This is true true for countless small
      businesses in America, especially in Black and Brown communities, not just in cannabis. Our
      Mission is to increase economic sustainability and to heal our communities from the
      consequences of the War on Drugs by uplifting the voices of our members' lived experience and
      supporting their businesses by advocating for increased opportunity to funds and reduced
      barriers to entry.

      Weparticipated, in good faith, in the Legalization Movement in hopes that we could contribute to
      the economic development of communities devastated by disproportionate enforcement of full
      cannabis prohibition. We are concerned that moving cannabis to schedule Ill would allow the
      DEA to continue enforcing cannabis laws unjustly, under the guise of regulation. Docket No.
      DEA 1362 clearly states that "If marijuana is transferred into schedule Ill, the manufacture,
      distribution, dispensing, and possession of marijuana would remain subject to the applicable
      criminal prohibitions of the CSA.", giving the DEA full enforcement power once again. Though
      we see the value in recognizing the medical value of cannabis at the state level, we know from
      experience that government regulation in this sphere does not have the best track record in




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          protecting impacted communities. Further, this does not expunge records or release those
          incarcerated for cannabis related sentences, which is a critical aspect of true decriminalization.

          Relief from the IRS Tax Code 280e is imperative for the survival of our businesses but we are
          not willing to sacrifice the progress Social Equity has made; moving to Schedule Ill still leaves
          our consumers and small businesses at risk of being recriminalized.

          Equity Trade Network is in full support of Descheduling cannabis and to continue our good faith
          effort in progressing the conversation on how the United States can repair the harms of the war
          on Drugs.Furthermore, it is important to provide health and safety provisions around access to
          clean, tested cannabis products that can optimize the positive benefits of the plant for both
          medical and adult-use, and as a dynamic agricultural product .

          Thank you for your consideration and look forward to your continued participation in the
          evolution of this conversation. Please consider us, and our members, as a valued voice and
          asset at the table.

          Sincerely,
      ~                              /



          Co-Founder
          The Equity Trade Network




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 Public Comments on DEA Rescheduling of Cannabis Decision
 [Docket No. DEA-1362]

To Whom It May Concern,

I am writing to express our position on the DEA's proposed rescheduling of cannabis as
outlined in the Federal Register on August 29, 2024 (Docket No. 2024-19370). We have
a vested interest in this proceeding as the rescheduling of cannabis will significantly
impact the regulatory framework, data collection, public health policy, and educational
needs surrounding cannabis-derived products.

Interest in the Proceeding

Our efforts focus on health care provider education, public health research, product
development, and patient care. The decision to reschedule cannabis will directly affect
our operations, particularly in how cannabinoid-based products are regulated, produced,
tracked and how that data is collected and accessed. With the number of potential
cannabis and hemp product variations exceeding 1.5 million (due to different forms,
formulations, and ingredients), rescheduling cannabis will influence the safety,
standardization, and oversight of this diverse product market.

Objections and Issues of Concern

While we appreciate the DEA's efforts to modernize cannabis policy, we wish to raise
the following issues:

   1. Lack of Systematic Data Collection
      With millions of product variations in the cannabis market—ranging from edibles
      to vapes, oils, and topical creams—the absence of consistent product tracking
      and data collection mechanisms presents a major public health concern.
      Assigning standardized product codes similar to National Drug Codes (NDCs) to
      cannabis products is essential for their proper inclusion in medical records, which
      will enable healthcare providers and regulators to monitor safety and efficacy.
      Without such standardized tracking, the rescheduling process will lack the
      structure needed for effective regulation.
   2. Inconsistent Regulatory Framework for Hemp-Derived vs. Cannabis-
      Derived Cannabinoids
      The regulatory divide between hemp-derived and cannabis-derived cannabinoids
      must be addressed. We advocate for a unified regulatory framework that treats
      these substances under a single scheme. This would promote consistency in
      product safety standards and better protect consumers while fostering innovation
      in the industry.

Position Regarding the Objections and Issues




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While we support the DEA’s decision to reschedule cannabis, we believe it is crucial to
address these concerns:

   1. Data Collection and Product Tracking
      Assigning NDCs to cannabis products will ensure that these products are
      properly tracked, allowing for consistent data collection on product types (e.g.,
      inhalable, edible), formulations, and concentrations. Given the vast array of
      product variations—estimated to be over 1.5 million—systematic tracking is
      critical to ensuring public safety and advancing research. Implementing a
      standardized data collection form for cannabinoid products similar to the
      collection of alcohol and smoking consumption would enhance the understanding
      of the true benefit/risk and abuse potential of cannabinoids.
   2. Unified Regulatory Framework
      We strongly recommend that hemp-derived and cannabis-derived cannabinoids
      be regulated under the same framework. This will ensure consistency in quality
      and safety standards, making it easier for regulators, consumers, and industry
      stakeholders to navigate this complex market.

In conclusion, we only support this rescheduling on the condition that a system is in
place to collect data and monitor efficacy and adverse events in the context of product
details. Without these measures, the rescheduling process risks being ineffective and
could lead to inconsistencies in public health protections and product safety. We believe
the DEA’s success at rescheduling cannabis hinges on implementing a robust data
collection system and a unified regulatory framework that treats all cannabinoids
equitably.

Thank you for considering our comments.

Jahan Marcu, PhD
Teresa Simon, MPH
Phil Molloy, MD




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      MARIJUANA AS MEDICATION AND CURRENT SCHEDULING
      Schedule I means there is a high potential for abuse, no currently accepted medical use in
      treatment in the United States, and a lack of accepted safety for use under medical
      supervision. 21 USC Section 812.


      Definition of medication:

      To approve a medicine, the FDA requires five criteria to be fulfilled:

      1.     The drug’s chemistry must be known and reproducible.

              Dispensary marijuana contains highly variable THC content, variable ratios with CBD,
      highly variable delivery systems and potencies, as well as several hundred other molecules of
      the plant, many of which may have activity on the human body. Standardization, content,
      product integrity, and product shelf-life are REQUIRED by the FDA.

      Due to this alone, reproducibility of dispensary cannabis products is extremely diﬃcult in the
      scientific arena. Current cannabinoids available as medicine include dronabinol, nabilone, and
      cannabidiol. Dabs, waxes, butane hash oil, shatter, cannabis vaporizers have not met scientific
      rigor, are highly potent, and potentially dangerous.

      2.     There must be adequate safety studies.

      “Dispensary marijuana” has not been studied or used safely under medical supervision since
      the substance, and its components have not been standardized. It is accepted that use of
      marijuana may impair ones ability to drive, memory, cognition, and balance, among other
      potential eﬀects. Extended use, particularly with higher potency products may cause
      psychosis, excessive vomiting (hyperemesis), anxiety, addiction, among other potential harmful
      eﬀects.

      Due to the lack of standardization, which includes dosing guidelines, wide spectrum of
      potencies and content, and the lack of high quality scientific study, the safety of dispensary
      marijuana is currently unknown.

      3.     There must be adequate and well-controlled studies proving eﬃcacy.

      There is conflicting information on the eﬃcacy of dispsensary cannabis. Current FDA
      approved cannabinoids such as dronabinol, nabilone, and purified cannabidiol, have specific
      and proven indications. These medications have a package insert, which educates the
      consumer on the risks of taking these particular medications, whereas dispensary marijuana
      does not. For example, FDA-approved cannabidiol clearly states in its package insert, the risk
      of liver damage, suicidal behavior, and sedation and is approved for a narrow spectrum of
      pediatric seizures.

      Studies on dispensary marijuana is generally fraught with poor quality studies with a high risk
      of bias and commonly are of short duration with a smaller number of subjects. The high
      variability of dispensary marijuana makes scientific study more diﬃcult, despite the fact that
      there has been over $3.5 billion dollars spent on studying marijuana and over 30,000 scientific
      papers generated. There are no studies of raw marijuana that include high-quality, unbiased,
      blinded, randomized, placebo-controlled or long-duration trials.




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      4.     The drug must be accepted by well-qualified experts. Medical associations
      generally call for more cannabinoid research but do not endorse marijuana as a medicine.

      Here is a short list of some of the organizations which do not endorse the use of marijuana as
      medicine.

             American Medical Association
                   “Cannabis is a dangerous drug and as such is a public health concern”
             American Psychiatric Association
                   “No current scientific evidence that marijuana is in any way beneficial for
                   treatment of any psychiatric disorder … the approval process should go through
                   the FDA.”
             American Heart Association
             American Lung Association
             American Cancer Society
             American Academy of Pediatrics
             American Academy of Neurology
             American Society for Addiction Medicine
             IASP

      5.     Scientific evidence must be widely available.

      Although there has been extensive study on marijuana it still has not become mainstream in
      terms of medical education. Dispensary marijuana is diﬃcult to study given the problems
      already discussed.

      To reside in Schedules II-V and be approved for diagnosing, mitigating, treating or curing a
      specific medical condition, a substance or botanical must proceed through a rigorous FDA
      scientific process proving safety and eﬃcacy. Not one form of “dispensary marijuana” with a
      wide range of THC levels and potencies— butane hash oil, smokables, vapors, edibles, liquids
      — has gone through this rigorous process for a single medical condition

      Should we dismiss heartfelt appeals from people suﬀering various diseases, self-reports of
      safety and eﬀectiveness for a myriad of symptoms, and considering that many chronic,
      debilitating ailments are inadequately managed? Human stories should not be ignored, and
      rigorous, creative solutions can be formulated in response, including the use of FDA-approved
      purified cannabinoids at does ranges deemed relatively safe.


      Marijuana fails to meet any of these five criteria for accepted medical use in the United States.
      At present, it belongs in Schedule I. Moving marijuana to Schedule II “to promote research” is
      unethical, as marijuana would then be designated a safe and eﬀective medicine in the absence
      of high-quality evidence.




      The FDA has warnings on “false medical claims”

             False medical claims from cannabis and CBD companies. They are NOT allowed to
             make false medical claims (treating anxiety, pain, assist sleep, increase appetite (only




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             FDA-approved dronabinol can does this), cure cancer, anti-inflammatory, treat seizures
             (only FDA approved Epidiolex can do this), etc.


             If you know a web page or tv or radio ads making false medical claims - send the
             information (web site, name of company, claim being made) to ALL 3 of the following
             sites:

      badad@fda.hhs.gov

      CAERS@fda.hhs.gov

      druginfo@fda.hhs.gov

      Medicine vs drug

             All medicines are drugs but not all drugs are medicines
                    There is an FDA drug development process
                    Defined content
                            Dronabinol: CIII
                            Nabilone:     CII

                    National Center for Complementary and Integrative Health (NIH) has safety
                           concerns about cannabinoids
                                  FDA has NOT approved the cannabis plant for any medical use
                                  FDA has NOT approved dietary supplements with THC or CBD
                                  FDA has product integrity concerns
                    Package insert not available for dispensary marijuana


      ABUSE POTENTIAL

                    Marijuana has higher addictive rate than opioids, particularly with early onset
                    Earlier data 9% addictive rate in adult, current is 30% (NIDA)
                    Develop marijuana use disorder

                    American Drug Addiction Centers
                    Maranon
                    American Psychiatric Association
                    American Society on Addiction Medicine

      HARM


      1.     In Utero exposures
                     Dispensary recommendations, Colorado
                           70% of dispensaries in CO recommend women use in first trimester
                                   (N=400)
                     Connecticut data
                           MJ exposures most common substance (80%)
                           Opioids (20%)
                           Alcohol (<3%)
                           Avg. 6.6 babies per day




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                  ABCD study
                         9-11 years of age: behavior problems, psychotic-like experiences, etc
                  NIH data
                         Problems persist into adolescence
                  Autism rates higher in MMJ states
                  Pediatric cancers


      2.   Psychosis/Suicide
                 MJ most common substance found in completed teen suicide in CO
                 5 fold increase in first time psychosis (European data, lower potency)
                 Up to 30% of schizophrenia cases could have been prevented (Danish study)
                         6 million people over 50 years
                 Cannabis use a well-established risk factor for psychosis

      3.   Pediatric poisonings
                  13 fold increase of children ending up in the ED from exposure
                  4% end up on a ventilator
                  20% with central nervous system
                  Virginia death related to Delta-8 in 4 yo boy

      4.   Elderly poisonings
                   18 fold increase in elderly presenting to ED with cannabis poisonings
                   Drug-drug interactions
                   CBD has 576 drug interactions
                           Liver damage
                           Suicidality
                           Sedation (FDA warnings on driving as well as integrity)
                   SAMHSA warnings on CBD; reproductive eﬀects

      5.   Product integrity
                 State of Oregon audit report 2019
                 Colorado product recalls
                 California fail rate
                 Washington has had product recalls (pesticides)




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                                                                                                          ROUNTREE
                                                                                                               c -: 'ISL -T n ~::a


        Drug Enforcement Administration
        8701 Morrissette Drive

        Springfield, VA 22152

        Attn: Administrator


        Cc:

        Drug Enforcement Administration
        8701 Morrissette Drive

        Springfield, VA 22152

        Attn: Hearing Clerk/OAU


        Drug Enforcement Administration
        8701 Morrissette Drive

        Springfield, VA 22152

        Attn: Register Representative/DPW


        Re: Request for Hearing

        Docket: DEA-2024-0059

        Position: Opposed




        Dear Administrator,


        I am writing regarding DEA Docket DEA-2024-0059, which concerns the Department of Justice's proposal to

        transfer marijuana from Schedule I ofthe Controlled Substances Act (CSA) to Schedule Ill. This proposal is

        based on the Department of Health and Human Services' (HHS) view that marijuana has a currently accepted

        medical use, along with considerations of its abuse potential and level of physical or psychological

        dependence.


        I oppose this rescheduling due to the increased risks it poses to public health and safetv. Accordingly, I

        hereby request a hearing.



                                        300 S. El Camino Real. Suite 206, San Clemente, CA 92672
                                             Phone (949) 366-3180 • Fax (949) 366-3181
                                                     www.rountreeconsulting.com




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        Statement of Interest
        As a Certified Public Accountant (CPA) and a professional deeply involved in regulatory and compliance issues

        within the cannabis industry, I have significant expertise and a vested interest in this proceeding. My

        professional and personal experiences provide me with a unique perspective on the potential consequences

        of rescheduling marijuana.

        Objections and Issues
            1.    State Regulatory Failures:
                      o    Many states have inadequate systems for tracking, recalling, and ensuring the safety of

                           cannabis products.

                      o    Existing tracking systems (e.g., METRC, BIOTRAK) often fail to maintain comprehensive

                           oversight, leading to issues with recalls and consumer safety notifications.

            2.    Public Health Risks:
                       o   The widespread use of marijuana, combined with insufficient state regulation, exposes

                           consumers to significant health risks.

                       o   Black-market marijuana, often sold openly, poses dangers including exposure to pesticides,

                           harmful chemicals, and potential contamination with substances like fentanyl.

            3. Organized Crime and Cartels:
                       o   Illegal operations, including those run by cartels, dominate the cannabis market, using

                           sophisticated methods to evade regulation.

                       o   Forced labor and deplorable working conditions are prevalent in these illegal operations.

            4.     Loss of Enforcement Tools:
                       o   Rescheduling marijuana would undermine critical enforcement tools like 26 U.S. Code

                           Section 280E, which is vital for prosecuting illegal sellers and disrupting organized crime

                           activities.

        Position
        Rescheduling marijuana from Schedule I to Schedule Ill would falsely reassure consumers of the safety of

        marijuana products, exacerbating public health risks and weakening regulatory oversight. It is essential that

        the DEA maintain stringent controls and leverage tools like 280E to combat illegal activities and protect public

        health.




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        Request for Hearing


        I request a hearing to present these concerns and provide detailed evidence and expert opinions on the

        potential adverse effects of rescheduling marijuana. An in-person hearing will enable a comprehensive

        discussion of these critical issues and ensure that all relevant facts and perspectives are considered.


        Sincerely,




        Michael D. Rountree, CPA, MBT

        CA CPA 85364 / HI CPA 4488

        300 S. El Camino Real, Suite 206, San Clemente, CA 92672

        Phone: (949) 366-3180

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        Research Information:
        1. State Regulatory Failures:

            •   California Bureau of Cannabis Control: Reports on recall inefficiencies and unregulated products.

                 https://bcc.ca.gov

            •    Cannabis Tracking Systems: Analysis of METRC and BIOTRAK systems' limitations. https://www.metrc.com

        2. Public Health Risks:

            •    Centers for Disease Control and Prevention {CDC}: Statistics on marijuana use and associated health risks.

                 https://www.cdc.gov/marijuana

            •    Journal of the American Medical Association {JAMA}: Studies on contaminants in black-market marijuana.

                 https://jamanetwork.com/journals/jama

        3. Organized Crime and Cartels:
            •    DEA Reports: Documentation on cartel activities in the cannabis market. https://www.deo.gov

            •    Oklahoma Bureau of Narcotics: Case studies on cartel involvement in cannabis operations.

                 https://obndd.ok.gov

        4. Loss of Enforcement Tools:
            •    26 U.S. Code Section 280£: Legal implications and enforcement cases.

                 https://www.law.cornell.edu/uscode/text/26/2BOE




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 Drug Enforcement Administration, Attn: Hearing Clerk/OALJ

 Subject: Notice of Appearance

 Dear Administrator:

 Please take notice that Patrick Oglesby would like to appear in the matter of the proposed
 rescheduling of marijuana into schedule III of the Controlled Substances Act on December 2, 2024,
 as announced here: https://www.federalregister.gov/documents/2024/08/29/2024-
 19370/schedules-of-controlled-substances-rescheduling-of-marijuana

    (1)     State with particularity the interest of the person in the proceeding;

 My interest in tax policy causes my interest in this proceeding – pro bono publico. The peculiar
 marijuana selling expense tax known as 280E would go away with Schedule III, since section 280E
 of the Internal Revenue Code, by its terms, burdens commerce only in Schedule I and II drugs.

 You raised non-drug issues in your May announcement: “DOJ acknowledges that there may be
 large impacts related to Federal taxes . . . among other things. DOJ is specifically soliciting
 comments on the economic impact of this proposed rule.” A secondary issue goes to economic
 impact -- the impact of a tax cut on the competitive positions of large and small cannabis
 businesses.

 My analysis of the tax implications of rescheduling, “Will Congress’s Marijuana Tax Die an
 Administrative Death?,” was the cover story in the September 16 issue of Tax Notes magazine.
 https://www.taxnotes.com/tax-notes-federal/exemptions-and-deductions/will-congresss-
 marijuana-tax-die-administrative-death/2024/09/16/7l5lm.




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    taxnotes®                                                federal




 I’m a former staff lawyer for the Joint Committee on Taxation and the Senate Finance Committee,
 and lead a tax policy non-profit, the Center for New Revenue, which has focused on the intersection
 of tax policy and drug policy. I have worked for various states and non-profits on cannabis taxation
 and economics, but never for the cannabis industry.

    (2)     State with particularity the objections or issues concerning which the person desires to
            be heard;

 Because rescheduling would bring cannabis outside the ambit of Internal Revenue Code section
 280E, which applies a special tax burden only to Schedule I and II drugs, my main issue is whether
 the Administration should cut taxes on marijuana businesses.

    (3)     State briefly the position of the person regarding the objections or issues.




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For tax policy, I do not support Schedule III for marijuana. If you move away from Schedule I
as inappropriate drug policy, Schedule II, retaining the 280E tax, would be more appropriate for tax
policy than Schedule III. (I claim no expertise on non-economic matters, and have no opinion on
whether Schedule II’s “high potential for abuse and/or addiction” is more fitting than Schedule III’s
“low to moderate potential for abuse and/or addiction.”)

A federal marijuana tax seems desirable and ultimately inevitable -- despite the state-legal
marijuana industry’s competitive struggles with the illicit market and with hemp THC drug sellers.
Those struggles are vastly different among states, some of which have marginalized them.
Meanwhile, for public health, the section 280E selling expense tax may be the best marijuana tax
available. It nudges against advertising and marketing, which are often frills at best and demand-
creators at worst. Schedule III would tax marijuana like tomatoes. In any realistic medium-term
scenario, Congress would not tax marijuana like tomatoes.

A good marijuana tax is hard to find, so it would be sad to see Congress’s pro-public-health,
revenue-positive section 280E selling expense tax die by marijuana’s administrative transfer to
Schedule III. However, marijuana’s transfer to Schedule II instead of Schedule III would keep the
marijuana selling expense tax revenue coming in and would keep section 280E’s unfinished tax
experiment running.

I suggest that as you balance tax competing concerns, and that that balance tilts against Schedule III.
Now the tax question is a close one, and your drug policy analysis involves much more than tax and
economic issues. But I am glad that you are looking at those tax and economic issues, and I hope
my nuanced views will help you.

Thank you.

All notices to be sent pursuant to this appearance should be addressed to:
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                           Certificate of Service

       I certify that this document was filed with the Court via the court’s electronic

 filing system, on the 17th day of February, 2025, and an electronic copy was served

 on all counsel of record via the CM/ECF system on the same date. I further certify

 that I have mailed the foregoing document via first class mail, postage paid, to those

 parties or their counsel who are not registered through the CM/ECF system.



                                            /s/Austin T. Brumbaugh
                                            Austin T. Brumbaugh
